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 May 12, 2025

 VIA ECF
 Honorable Michael E. Farbiarz
 United States District Judge
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street, Newark, New Jersey 07101
        Re:       Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
 Dear Judge Farbiarz:
         Petitioner respectfully writes to provide notice of further supplemental authorities
 relevant to the Court’s consideration of Petitioner’s motions. First, in Ercelik v. Hyde, No. 25-cv-
 11007, Dkt. 30 (D. Mass. May 8, 2025) (attached as Exhibit A), the district court granted the
 petitioner’s motion for a preliminary injunction, finding that the government retaliated against
 him for his pro-Palestinian expression in violation of the First Amendment (retaliation) and the
 Fifth Amendment right to due process. The court ordered his “immediate release,” and enjoined
 the government from effecting a future arrest on any similar grounds.

         Second, Petitioner submits the unofficial transcript from the bail hearing in
 the Öztürk case, held on May 9. In ordering the petitioner’s immediate release from custody in
 Louisiana, the District of Vermont court made the following findings in its ruling from the
 bench, Öztürk v. Hyde, No. 25-cv-0374, Tr. Bail Hrg. 105:9-115:5 (D. Vt. May 9, 2025)
 (attached as Exhibit B):

              •   “Ms. Ozturk has sufficiently established all three factors” under Mapp. Tr. Bail
                  Hrg. 105:22-23.

              •   That petitioner’s claims, which are similar to Mr. Khalil’s here, amounted to
                  “very substantial claims of both due process and First Amendment violations.” Id.
                  at 107:21-23.

              •   That the government’s efforts to quickly whisk the petitioner across multiple state
                  lines from Massachusetts to Louisiana, which are comparable to the government’s
                  actions in Mr. Khalil’s case, formed part of the extraordinary circumstances in
                  that case. Id. at 108:14-109:16.

              •   That detention both “necessarily constitutes a continued infringement on Ms.
                  Ozturk’s First Amendment and due process rights” and “potentially chills the
                  speech of the millions and millions of individuals in this country who are not
                  citizens,” and that, therefore, “her continued detention cannot stand” and “bail is
                  necessary to make the habeas remedy effective.” Id. at 109:25-110:12.

              •   That “immigration judges are Executive Branch employees subject to Executive
                  Branch orders,” not an “Article III court,” and, notwithstanding “that an
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                immigration judge in Louisiana found danger and flight risk for Ms. Ozturk,”
                noting that “there has been absolutely no evidence introduced by the government
                which in any way indicates that she poses a danger of flight or that she poses a
                risk to the community,” weighed against “numerous sworn affidavits” submitted
                in her support, and concluding “that she does not pose a danger to the community,
                nor does she present a risk of flight.” Id. at 110:21-112:1.

            •   That Ms. Ozturk’s detention “has been a very traumatic event,” id. at 113:1, that
                “the Court is not going to stay this order” releasing her on bail, id. at 113:20-21,
                and that the government must “monitor the situation in Louisiana” and inform the
                court “immediately when she’s released, id. at 114:15-17.

         In addition, on the same date, the court issued a supplemental order reaffirming its
 “finding of no flight risk and no danger to the community” concerning the petitioner and
 prohibiting the government from requiring any “Body-Worn GPS or other ICE monitoring at this
 time,” to include ankle bracelets and the like, prior to the petitioner’s immediate release from
 ICE custody on her own recognizance, which was effectuated shortly after the supplemental
 order issued. Özturk v. Hyde, No. 25-cv-0374, Dkt. 131 (D. Vt. May 9, 2025) (attached as
 Exhibit C).

                                                      Respectfully submitted,

                                                      /s/ Baher Azmy


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 Farrin R. Anello                                     Diala Shamas*
 Molly K.C. Linhorst                                  666 Broadway, 7th Floor
 570 Broad Street, 11th Floor                         New York, NY 10012
 Newark, New Jersey 07102                             Tel: (212) 614-6464
 973-854-1715
                                                      CLEAR PROJECT
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 Veronica Salama*                                     Shezza Abboushi Dallal*
 Molly Biklen*                                        CUNY School of Law
 125 Broad Street, 19th Floor                         2 Court Square
 New York, N.Y. 10004                                 Long Island City, NY 11101
 Tel: (212) 607-3300                                  Tel: (718) 340-4558

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 Noor Zafar*                                245 Sullivan Street, 5th Floor
 Sidra Mahfooz*                             New York, New York 10012
 Brian Hauss*                               Tel: (212) 998-6430
 Esha Bhandari*
 Vera Eidelman*                             DRATEL & LEWIS
 Tyler Takemoto*                            Amy E. Greer
 Brett Max Kaufman*                         29 Broadway, Suite 1412
 125 Broad Street, 18th Floor               New York, NY 10006
 New York, NY 10004                         Tel: (212) 732-8805
 Tel: (212) 549-2500                        Fax: (212) 571-3792

                                            VAN DER HOUT LLP
                                            Marc Van Der Hout (CA Bar #80778)*
                                            Johnny Sinodis (CA Bar #290402)*
                                            Oona Cahill (CA Bar #354525)*
                                            360 Post St., Suite 800
                                            San Francisco, CA 94108
                                            Tel: (415) 981-3000
                                            Fax: (415) 981-3003

 * Appearing Pro hac vice
                                            Counsel for Petitioner




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                             Exhibit A
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
 __________________________________________
                                                )
 EFE ERCELIK,                                   )
                                                )
                  Petitioner,                   )
                                                )
                                                )
 v.                                             )    Civil Action No. 1:25-CV-11007-AK
                                                )
 PATRICIA HYDE, Acting Director of Boston       )
 Field Office, U.S. Immigration and Customs     )
 Enforcement; KRISTI NOEM, Secretary of the     )
 U.S. Department of Homeland Security; PAMELA )
 BONDI, Attorney General of the United States;  )
 in their official capacities,                  )
                                                )
                  Respondents.                  )
                                                )

                    MEMORANDUM AND ORDER ON PETITIONER’S
                        MOTION FOR INJUNCTIVE RELIEF

 ANGEL KELLEY, D.J.

        On April 16, 2025, Petitioner Efe Ercelik (“Petitioner”) filed a Petition for Writ of

 Habeas Corpus for relief under 28 U.S.C. § 2241 (“Section 2241”) against Patricia Hyde, in her

 official capacity as Acting Director of the Boston Field Office for Immigration and Customs

 Enforcement (“ICE”); Kristi Noem, in her official capacity as Secretary of the Department of

 Homeland Security (“DHS”); and Pamela Bondi, in her official capacity as Attorney General of

 the United States (together, “Respondents”). [Dkt. 1]. Initially, Petitioner alleged that he was in

 Respondents’ constructive custody, asserting that ICE agents were stationed outside his

 residence, poised to arrest him should he attempt to leave. [See Dkt. 1]. At that time, whether

 Petitioner was indeed in custody for purposes of a Section 2241 habeas petition was contested.

 [See Dkt. 7]. However, Petitioner was taken into actual custody of the Respondents, as he was




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 arrested by ICE agents at the Eastern Hampshire District Court after attending to his state court

 obligations. [Dkt. 26]. The taking of Petitioner into physical custody resolved the dispute of

 whether constructive custody was sufficient to establish jurisdiction under Section 2241.

          Currently before the Court is Petitioner’s Motion for a Temporary Restraining Order

 (“Motion”) [Dkt. 10] and Addendum [Dkt. 26] (collectively, the “Amended Motion”), requesting

 the Court to enjoin Respondents from further detaining him or interfering with his departure

 from the United States. For the reasons below, the Court finds that Petitioner has met the criteria

 for injunctive relief, and the Amended Motion is GRANTED IN PART pending further

 proceedings. 1 In summary, Respondents are ORDERED to immediately release Petitioner and

 are RESTRAINED from arresting or detaining him for civil immigration detention purposes

 during the pendency of these proceedings unless Respondents first provide advance notice to the

 Court and Petitioner’s counsel, allowing Petitioner an opportunity to be heard.



     I.   BACKGROUND

          Petitioner entered the United States in Spring 2022 on an F-1 student visa, which he has

 maintained through his full-time undergraduate enrollment. In November 2023, Petitioner was

 involved in a verbal and physical altercation as a counter-protester during an on-campus political

 demonstration, resulting in several state criminal charges. He was granted bail.

          More than 17 months later, on April 16, 2025, ICE agents arrived at Petitioner’s

 residence, informed him of his visa revocation, and attempted to arrest him. At that time,

 Petitioner believed the agents were stationed outside his home, preventing him from leaving due


 1
  The relief granted herein requires Respondents to release Petitioner from custody and refrain from detaining him
 during the pendency of these proceedings. However, the Court does not opine on whether Petitioner may or may not
 depart the United States. Petitioner’s ability to leave the country remains a consequence of his own actions and is not
 explicitly authorized or prohibited by this Order.


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 to the imminent threat of arrest. His defense counsel visited his residence, spoke with ICE

 agents, and was permitted to photograph a letter stating that the U.S. Department of State (“State

 Department”) revoked his F-1 student and B-2 tourist visas on April 9, 2025. [Dkt. 9-4].

        That same day, Petitioner filed a habeas petition, alleging he was in Respondents’

 constructive custody and faced imminent arrest and detention, which would obstruct his ability to

 appear at his scheduled state criminal hearing. He further argues that Respondents’ detention

 efforts violate his rights under the First, Fifth, and Sixth Amendments, specifically that

 Respondents’ actions constitute retaliation against his political speech and a misuse of

 immigration processes. Further, he asserts that his detention lacks a legitimate purpose and

 unjustly impairs his ability to resolve pending state court charges. On April 21, 2025,

 Respondents filed an opposition [Dkt. 7], contending that the Court lacks jurisdiction because

 Petitioner was not in their physical custody and, even if he were, judicial review of executive

 agency actions is precluded.

        On April 23, 2025, Petitioner filed an Amended Petition for Writ of Habeas Corpus

 (“Petition”) [Dkt. 9] under Section 2241, along with the instant Motion, continuing to seek relief

 from his constructive detention. Respondents again opposed the requested relief [Dkt. 13], and

 the Court held a hearing on April 29, 2025, where the Court learned that formal removal

 proceedings had still not commenced through the issuance of a Notice to Appear (“NTA”). [Dkt.

 12]. On May 5, 2025, the Court held a further conference, during which the parties reported no

 further updates on the initiation of immigration proceedings. [Dkt. 20].

        On May 7, 2025, while the Motion was still under advisement, Petitioner submitted an

 Addendum to his Motion, notifying the Court that Petitioner was arrested by Respondents’

 agents after he appeared in state court to resolve his criminal case. [Dkt. 26]. Petitioner was




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 taken into their custody. The Court ordered a hearing on the same date in light of Petitioner’s

 arrest. [Dkt. 29]. Finally, the Petitioner was served with an NTA in court, thereby initiating the

 removal process. Petitioner reiterated that his detention serves no lawful purpose beyond

 retaliatory punishment for his political speech and requests that the Court order his immediate

 release.



  II.    JURISDICTION

         Before addressing the merits of Petitioner’s request for injunctive relief, the Court must

 first establish its jurisdiction over this matter. Federal courts are courts of limited jurisdiction,

 possessing only the authority granted by the Constitution and statutes. See Corrigan v. Bos.

 Univ., 98 F.4th 346, 356 (1st Cir. 2024) (citing Kokkonen v. Guardian Life Ins. Co. of Am., 511

 U.S. 375, 377 (1994)). Nonetheless, “district courts retain jurisdiction over challenges to the

 legality of detention in the immigration context.” Hamada v. Gillen, 616 F. Supp. 2d 177, 181

 (D. Mass. 2009) (quoting Aguilar v. U.S. Immigr. & Customs Enf’t Div. of Dep’t of Homeland

 Sec., 510 F.3d 1, 11 (1st Cir. 2007)).

         Under Section 2241, federal courts may grant habeas corpus relief to individuals who are

 “in custody in violation of the Constitution or laws or treaties of the United States.” 28 U.S.C. §

 2241(c)(3). The highest duty of a court under our constitutional system is the careful

 examination and adjudication of these habeas corpus petitions. See Harris v. Nelson, 394 U.S.

 286, 292 (1969); Burns v. Wilson, 346 U.S. 137, 148 (1953) (concurring statement of

 Frankfurter, J.) (“The right to invoke habeas corpus to secure freedom is not to be confined by

 any a priori or technical notions of ‘jurisdiction.’ . . . And so, if imprisonment is the result of a

 denial of due process, it may be challenged no matter under what authority of Government it was




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 brought about.” (emphasis added)). Accordingly, the Court must determine: (1) whether

 Petitioner is in the custody of Respondents and (2) whether such custody violates constitutional

 or federal law. Based on the record and the current procedural posture of this case, the Court

 finds that both conditions are met and retains jurisdiction over this matter.

              A. Petitioner is in Custody

          The first jurisdictional issue is whether Petitioner satisfies the “custody” requirement

 necessary for habeas review. Section 2241’s central requirement is custody; a concept courts

 consistently construe broadly. 2 Indeed, case law confirms that habeas review even extends

 beyond mere physical incarceration, requiring instead that petitioners be subject to restraints “not

 shared by the public generally.” See Jones v. Cunningham, 371 U.S. 236, 240 (1963); Tinder v.

 Paula, 725 F.2d 801, 803 (1st Cir. 1984).

          Initially, the issue of custody was contested. Petitioner claimed constructive custody

 based on ICE agents’ surveillance outside his residence, suggesting imminent arrest. Courts

 have long recognized that custody is not limited to physical confinement but extends to situations

 where an individual’s liberty is substantially restrained. See Justs. of Bos. Mun. Ct. v. Lydon,

 466 U.S. 294, 300 (1984) (“[T]he use of habeas corpus has not been restricted to situations in

 which the applicant is in actual, physical custody.” (citation omitted)). Habeas review has

 traditionally encompassed individuals subject to government supervision, even in the absence of

 formal incarceration. See, e.g., Hensley v. Mun. Ct., 411 U.S. 345 (1973) (finding release on

 personal recognizance constitutes custody); Jones, 371 U.S. at 243 (holding that parole meets the



 2
   See Maleng v. Cook, 490 U.S. 488, 492 (1989) (noting that the custody requirement has been “very liberally
 construed”); Harris, 394 U.S. at 291 (“The scope and flexibility of the writ—its capacity to reach all manner of illegal
 detention. . . have always been emphasized and jealously guarded by courts and lawmakers.”); Peyton v. Rowe, 391
 U.S. 54, 64 (1968) (holding the custody requirement “should be liberally construed” because of the remedial goals of
 the statute); Jones v. Cunningham, 371 U.S. 236, 243 (1963) (acknowledging habeas relief has never “been a static,
 narrow, formalistic remedy”).


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  custody requirement); Lydon, 466 U.S. at 300-01 (finding pretrial release qualifies as custody);

  Lefkowitz v. Fair, 816 F.2d 17, 19 (1st Cir. 1987) (same). Petitioner’s theory of constructive

  custody was a hurdle, one which the Court was uncertain could be established, but one Petitioner

  is no longer required to clear.

         As of May 7, 2025, the question of custody is no longer theoretical. Petitioner was

  physically detained by ICE agents after attending a state court hearing. Unlike the prior claim of

  constructive custody, based primarily on his perceived restriction of movement due to ongoing

  surveillance, Petitioner is now undeniably subject to the executive’s direct control. Given this

  development, the Court finds that the threshold jurisdictional requirement of custody is satisfied.

             B. Applicability of Jurisdiction-Stripping Immigration Statutes

         Respondents advance several arguments to challenge this Court’s authority to review the

  Petition. First, they contend that the plain text of 8 U.S.C. § 1201(i) bars district court review of

  the State Department’s revocation of visas. Second, they invoke multiple jurisdiction-stripping

  statutes, arguing that: (1) Under 8 U.S.C. § 1252(g), district courts lack jurisdiction over ICE’s

  decision to initiate removal proceedings and execute removal orders; (2) under 8 U.S.C. §

  1226(e), judicial review of ICE’s decision to arrest and detain Petitioner is foreclosed; and (3)

  under 8 U.S.C. §§ 1252(a) and 1252(b)(9), any future challenge to Petitioner’s removal must

  proceed administratively before reaching a circuit court. Finally, Respondents argue that under 8

  U.S.C. § 1252(a)(2)(B)(i), the Court lacks jurisdiction over decisions concerning Petitioner’s

  voluntary departure from the United States. Petitioner refutes each argument and the Court

  examines them in turn.

                       1. Section 1201(i)

         On April 9, 2025, Petitioner’s visa was revoked pursuant to Section 1201(i).




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  Respondents argue that the plain text of this statute categorically bars judicial review of such

  revocations. Section 1201(i) states:

                 After the issuance of a visa or other documentation to any alien, the
                 consular officer or the Secretary of State may at any time, in his
                 discretion, revoke such visa or other documentation . . . There shall
                 be no means of judicial review (including review pursuant to section
                 2241 of Title 28 or any other habeas corpus provision, and sections
                 1361 and 1651 of such title) of a revocation under this subsection,
                 except in the context of a removal proceeding if such revocation
                 provides the sole ground for removal under section 1227(a)(1)(B) of
                 this title.

  8 U.S.C. § 1201. Respondents urge this Court to follow courts in other jurisdictions that found

  “themselves without jurisdiction to consider the merits of a visa revocation upon operation of

  Section 1201(i)’s language.” [Dkt. 13 at 9]. However, Petitioner does not contest the merits of

  the visa revocation. He has repeatedly and unequivocally stated that he is not challenging the

  revocation itself, but rather the subsequent detention and imminent arrest. [Dkt. 17 at 5].

  Consequently, Respondents’ reliance on Section 1201(i) is misplaced. The statute does not

  preclude judicial review of Petitioner’s detention, which arises independently of the visa

  revocation. See Ozturk v. Trump, No. 25-CV-374, 2025 WL 1145250, at *12 (D. Vt. Apr. 18,

  2025) (finding that Section 1201(i) does not bar judicial consideration of constitutional claims).

  The Court thus proceeds to Respondents’ next argument.

                       2. Section 1252(g)

         Respondents further argue that the Court lacks jurisdiction to review ICE’s decision to

  commence removal proceedings and effectuate removal orders. Respondents direct the Court to

  Section 1252(g), which is titled “Judicial review of orders of removal.” On its face, Section

  1252(g) seems broad. It was, indeed, enacted to “to streamline removal proceedings and

  enhance enforcement of immigration laws that had gone largely unchanged since 1952.” Patricia




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  Flynn & Judith Patterson, Five Years Later: Fifth Circuit Case Law Developments Under the

  Illegal Immigration Reform and Immigrant Responsibility Act, 53 Baylor L. Rev. 557, 561

  (2001). However, “the rest of the legislative history makes clear that the majority of members of

  Congress did not intend for this provision to be infinitely broad.” Matthew Miyamoto, Whether

  8 USC § 1252(g) Precludes the Exercise of Federal Jurisdiction over Claims Brought by

  Wrongfully Removed Noncitizens, 86 U. Chi. L. Rev. 1655, 1664 (2019). This is confirmed by

  the statute’s express words:

                 Except as provided in this section and notwithstanding any other
                 provision of law (statutory or nonstatutory), including section 2241
                 of Title 28, or any other habeas corpus provision, and sections 1361
                 and 1651 of such title, no court shall have jurisdiction to hear any
                 cause or claim by or on behalf of any alien arising from the decision
                 or action by the Attorney General to commence proceedings,
                 adjudicate cases, or execute removal orders against any alien under
                 this chapter.

  8 U.S.C. § 1252(g). The plain text of the statute makes clear that Section 1252(g) applies to

  cases when removal orders are entered against a noncitizen. See Kong v. United States, 62 F.4th

  608, 612 (1st Cir. 2023). The question before the Court is whether it can also apply to cases

  where an order of removal has not been entered. In fact, when the Court held its initial hearings,

  Respondents had yet to initiate removal proceedings through the service of an NTA.

         Respondents argue that Section 1252(g) also applies to “actions to commence

  proceedings that ultimately may end in the execution of a final removal order,” in addition to

  applying to actions or decision to “adjudicate cases or execute removal orders.” [Dkt. 13 at 11].

  To bolster this argument, they point to several cases, almost all of which are out of circuit. The

  Court appreciates the complexities of United States immigration law and recognizes that courts

  often arrive at opposing conclusions when faced with jurisdiction-stripping statutes. Compare

  Taal v. Trump, No. 25-CV-335-ECC-ML, 2025 WL 926207, at *2 (N.D.N.Y. Mar. 27, 2025)



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  (jurisdiction stripped), with Ozturk, 2025 WL 1145250, at *15 (jurisdiction not stripped). This

  Court is guided by binding precedent. 3 It will turn to out of circuit case law when the First

  Circuit and the Supreme Court are silent on an issue. Here, the Supreme Court and the First

  Circuit have neither been silent nor lacked clarity.

             In Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471 (1999), the Supreme

  Court narrowly construed Section 1252(g), holding that it applies “only to three discrete actions

  that the Attorney General may take: her ‘decision or action’ to ‘commence proceedings,

  adjudicate cases, or execute removal orders.’” Id. at 482 (emphasis in original). Justice Alito

  reaffirmed this limited scope twenty years later saying, “We did not interpret this language to

  sweep in any claim that can technically be said to ‘arise from’ the three listed actions of the

  Attorney General. Instead, we read the language to refer to just those three specific actions

  themselves.” Jennings v. Rodriguez, 583 U.S. 281, 294 (2018). According to Reno and

  Jennings, Section 1252(g) is not an automatic bar to judicial review.

             Reading the statute narrowly, as the Supreme Court instructs, does not allow this Court to

  expand Section 1252(g) to allow for “decisions and actions” that “ultimately may end in the

  execution of a final removal order,” as Respondents suggest. [Dkt. 13 at 11]. Petitioner here

  does not challenge the initiation of removal proceedings—rather, he challenges his detention,

  arguing that it is retaliatory and serves no legitimate governmental purpose. The First Circuit has

  clarified that Section 1252(g) does not prevent judicial review of a petitioner’s challenge to the

  legality of their detention and noted that many decisions and actions within the deportation

  process do not fall under the three specific exercises of discretion outlined in Section 1252(g).

  See Kong, 62 F.4th at 617. Similarly, district courts have recognized that habeas challenges to



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      This Court also looks to our sister courts for persuasive authority.


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  discretionary detention—where a petitioner is not challenging the execution of a removal

  order—fall outside the scope of Section 1252(g). See Ozturk, 2025 WL 1145250, at *14 (“[T]he

  Court is not considering a removal case. The Court is considering a habeas challenge to

  discretionary detention.”). Additionally, a sister court in this Circuit found that Section 1252(g)

  does not strip the court’s jurisdiction when the alleged harm is purely motivated by the

  government’s disagreement with certain speech. Am. Ass’n of Univ. Professors v. Rubio, No.

  25-CV-10685-WGY, 2025 WL 1235084, at *12 (D. Mass. Apr. 29, 2025) (“AAUP”). That

  court reasoned that habeas claims implicating constitutional violations should not be shoehorned

  into Section 1252(g). Id.

         Additionally, in dictum, the Reno court left open the possibility of an exception for

  outrageous conduct, stating there may be “a rare case in which the alleged basis of discrimination

  is so outrageous” that an exception might lie. 525 U.S. at 491. The Supreme Court did not

  discuss what constitutes an “outrageous claim,” but the Second Circuit expounded on factors for

  courts to consider:

                 [Reno] compels courts to evaluate the gravity of the constitutional
                 right affected; the extent to which the plaintiff’s conduct or status
                 that forms the basis for the alleged discrimination is actually
                 protected; the egregiousness of the Government’s alleged conduct;
                 and the plaintiff’s interest in avoiding selective treatment, as
                 balanced against the Government’s discretionary prerogative.

  Ragbir v. Homan, 923 F.3d 53, 69 (2d Cir. 2019), cert. granted, judgment vacated sub nom.

  Pham v. Ragbir, 141 S. Ct. 227, 208 L. Ed. 2d 1 (2020). However outrageous the claims might

  be is an inquiry that will not be addressed today. While Petitioner does not invoke this

  exception, the Court highlights it to underscore the conclusion the Supreme Court first arrived at

  in 1999: Section 1252(g) is not an automatic bar to judicial review. The Court thus rejects

  Respondents’ argument and proceeds to the next theory.



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                       3. Section 1226(e)

         Respondents contend that Section 1226(a) authorizes ICE to detain Petitioner and Section

  1226(e) bars judicial review of ICE’s decision to arrest and detain him. Section 1226 governs

  apprehension and detention of noncitizens generally, while Section 1226(e) specifically limits

  judicial review. It provides:

                 The Attorney General’s discretionary judgment regarding the
                 application of this section shall not be subject to review. No court
                 may set aside any action or decision by the Attorney General under
                 this section regarding the detention of any alien or the revocation or
                 denial of bond or parole.

  8 U.S.C. § 1226(e). The Court’s analysis begins—and ends—with the Supreme Court’s decision

  in Demore v. Kim, 538 U.S. 510 (2003). There, the Court held that “where a provision

  precluding review is claimed to bar habeas review, the Court has required a particularly clear

  statement that such is Congress’ intent.” Id. at 517 (citing Webster v. Doe, 486 U.S. 592, 603

  (1988) (“[W]here Congress intends to preclude judicial review of constitutional claims its intent

  to do so must be clear.”)).

         Petitioner has raised several constitutional challenges to his detention, and Section

  1226(e) contains no clear statement barring habeas review of such claims. The First Circuit

  agrees. See Hernandez-Lara v. Lyons, 10 F.4th 19, 33-34 (1st Cir. 2021) (holding that Section

  1226(e) does not strip jurisdiction over habeas petitions challenging constitutional violations

  related to detention); see also Pensamiento v. McDonald, 315 F. Supp. 3d 684, 689 (D. Mass.

  2018); Ozturk v. Trump, No. 25-CV-10695-DJC, 2025 WL 1009445, at *4 (D. Mass. Apr. 4,

  2025); Campbell v. Chadbourne, 505 F. Supp. 2d 191, 196 (D. Mass. 2007) (same). Since

  binding precedent has already determined that Section 1226(e) does not bar habeas jurisdiction,

  the Court rejects Respondents’ argument and proceeds to the next theory.




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                       4. Sections 1252(a)(5) and 1252(b)(9)

          Respondents argue that any future challenge to removal must proceed administratively

  before reaching a circuit court, relying on Sections 1252(a)(5) and 1252(b)(9). The Court finds

  this misstates the law—neither provision categorically bars jurisdiction over Petitioner’s habeas

  petition.

          Sections 1252(a)(5) and 1252(b)(9) must be read in conjunction to determine their scope.

  As statutory titles often provide context, see Singh v. Gonzales, 499 F.3d 969, 977 (9th Cir.

  2007), the Court will examine the statutory text and the titles. See also United States v. De La

  Cruz, 998 F.3d 508, 517 (1st Cir. 2021); Bollat Vasquez v. Wolf, 460 F. Supp. 3d 99 (D. Mass.

  2020). Section 1252(a)(5), titled “Exclusive means of review,” provides that “a petition for

  review filed with an appropriate court of appeals in accordance with this section shall be the sole

  and exclusive means for judicial review of an order of removal entered or issued under any

  provision of this chapter.” (emphasis added). Section 1252(b)(9), titled “Consolidation of

  questions for judicial review,” provides that “judicial review of all questions of law and fact,

  including interpretation and application of constitutional and statutory provisions, arising from

  any action taken or proceeding brought to remove an alien from the United States under this

  subchapter shall be available only in judicial review of a final order under this section.”

  (emphasis added).

          Section 1252(a)(5) grants exclusive review of orders of removal to circuit courts, while

  Section 1252(b)(9) (also described as a “zipper clause”) consolidates judicial review of

  immigration proceedings into one action in the circuit court. Reno, 525 U.S. at 483. But

  critically, both provisions apply only to judicial review of removal orders. See I.N.S. v. St. Cyr,

  533 U.S. 289, 311 (2001); see also Jimenez v. Nielsen, 334 F. Supp. 3d 370, 381 (D. Mass.




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  2018). The Court now turns to Respondents’ arguments.

         Respondents rely on Aguilar to argue that challenges to the removal process must go to

  circuit courts. Specifically, Respondents point to the words “arising from” in Section

  1252(b)(9), which, according to this Court’s discussion above, invokes Section(a)(5). [Dkt. 13 at

  17]. However, they misstate Aguilar. The First Circuit explicitly rejected an expansive reading

  of Section 1252(b)(9): The words “‘arising from’ cannot be read to swallow all claims that might

  somehow touch upon, or be traced to, the government’s efforts to remove an alien.” Aguilar,

  510 F.3d at 10. Had Congress intended to broadly bar all related claims, it could have used the

  more expansive language, “related to.” Id. It did not. See Coffey v. N.H. Jud. Ret. Plan, 957

  F.3d 45 (1st Cir. 2020) (applying the presumption that Congress gives effect to every word of a

  statute). Applying canons of construction, the Aguilar court said Section 1252(b)(9)’s

  jurisdiction-stripping feature does not exclude claims that are independent of the removal

  process. Aguilar, 510 F.3d at 11. This includes “challenges to the legality of detention in the

  immigration context.” Id.; see also Hernández v. Gonzales, 424 F.3d 42 (1st Cir. 2005) (holding

  that claims about detention are independent of removal proceedings and, thus, not barred by

  section 1252(b)(9)).

         This Court cannot endorse Respondents’ interpretation that “removability issues related

  to the revocation of [Petitioner’s] visa or regarding his requests for relief” must be presented at

  the administrative level. [Dkt. 13 at 18]. Such an interpretation would improperly sweep in all

  claims remotely related to the removal process. This is also not an interpretation endorsed by the

  First Circuit. In fact, the very case that Respondents rely on stands for the opposite

  interpretation.

                    We thus read the words ‘arising from’ in section 1252(b)(9) to
                    exclude claims that are independent of, or wholly collateral to,



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                 the removal process. Among others, claims that cannot
                 effectively be handled through the available administrative
                 process fall within that purview. This reading, we believe, is
                 consistent with the wise presumption that Congress legislates
                 with knowledge of longstanding rules of statutory construction.

  Aguilar, 510 F.3d at 11. Thus, Aguilar and Hernández confirm that challenges to detention—

  independent of removal proceedings—are not barred by Sections 1252(a)(5) or 1252(b)(9). This

  Court is dutybound to apply binding precedent. And this we do. For the foregoing reasons, the

  Court concludes that Sections 1252(a)(5) and 1252(b)(9) do not deprive it of jurisdiction to

  adjudicate Petitioner’s claims. Since there is no order of removal, the claims are independent

  from the removal process.

                       5. Voluntary Departure

         Finally, Respondents assert that the Court lacks authority over decisions concerning

  Petitioner’s voluntary departure from the United States. Petitioner refutes having ever raised

  such a claim. Instead, he argues that the mention of voluntary departure was merely intended to

  highlight the absurdity of Respondents’ insistence on detaining him despite his clear intent to

  leave of his own accord. [See Dkt. 17 at 10] (arguing the mention of voluntary departure “was

  simply meant to underscore the absurdity of Respondents’ intent to prevent [Petitioner] from

  departing the U.S. voluntarily and at his own expense, in order to arrest him and put him in

  removal proceedings”). Regardless, this argument has no bearing on the Court’s jurisdiction

  over the Petition, which challenges his detention, not his ability to depart voluntarily.

         Having established that jurisdiction is proper, the Court now turns to Petitioner’s Motion.




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  III.      STANDARD OF REVIEW

            Rule 65 of the Federal Rules of Civil Procedure grants courts authority to issue temporary

  restraining orders and preliminary injunctions. Courts apply the same standard in assessing a

  motion for temporary restraining order and a motion for preliminary injunction, which follow

  full briefing and the opportunity to be heard by the Court. See Fed. R. Civ. P. 65; Wash. Tr.

  Advisors, Inc. v. Arnold, 646 F. Supp. 3d 210, 217 (D. Mass. 2022). Following the briefing and

  oral argument in this matter, a preliminary injunction as opposed to a temporary restraining

  order, is appropriate.

            A preliminary injunction is an extraordinary remedy, appropriate only under limited

  circumstances. See Capen v. Campbell, No. 24-1061, 2025 WL 1135269, at *4 (1st Cir. Apr. 17,

  2025) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008)). The primary

  function of a preliminary injunction is to maintain the status quo between the parties until the

  court can resolve the case on its merits. Savino v. Souza, 459 F. Supp. 3d 317, 324 (D. Mass.

  2020) (citing Benisek v. Lamone, 585 U.S. 155, 161 (2018)). It serves as an equitable safeguard,

  preventing either party from taking actions that could alter their legal positions during the

  litigation and ensuring they remain, as much as possible, in the same circumstances as when the

  suit commenced. Id. (citing Francisco Sanchez v. Esso Standard Oil Co., 572 F.3d 1, 15 (1st Cir.

  2009)).

            To secure injunctive relief, Petitioner must satisfy four criteria: (1) likelihood of success

  on the merits; (2) risk of irreparable harm without relief; (3) balance of equities favoring the

  petitioner; and (4) alignment with public interest. Capen, No. 24-1061, 2025 WL 1135269, at *4

  (quoting Corp. Techs., Inc. v. Harnett, 731 F.3d 6, 9 (1st Cir. 2013)). Courts have emphasized

  that likelihood of success is weighed most heavily in this analysis. Id. (citing Akebia




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  Therapeutics, Inc. v. Azar, 976 F.3d 86, 92 (1st Cir. 2020)). Still, “the measure of irreparable

  harm is not a rigid one; it has been referred to as a sliding scale, working in conjunction with a

  moving party’s likelihood of success on the merits,” such that a greater likelihood of success on

  the merits permits “somewhat less” of a showing of irreparable harm. Vaqueria Tres Monjitas,

  Inc. v. Irizarry, 587 F.3d 464, 485 (1st Cir. 2009) (quoting EEOC v. Astra USA, Inc., 94 F.3d

  738, 743 (1st Cir. 1996)). Additionally, when the government is a party, the balance of equities

  merges with the public interest. See D.V.D. v. U.S. Dep’t of Homeland Sec., No. 25-CV-10676-

  BEM, 2025 WL 1142968, at *23 (D. Mass. Apr. 18, 2025) (citing Nken v. Holder, 556 U.S. 418,

  435 (2009)).



  IV.      DISCUSSION

           Petitioner satisfies the requirements for injunctive relief, as he has demonstrated that

  there are valid constitutional claims, and further established he is likely to succeed on the merits

  of these claims, faces imminent and irreparable harm, and the balance of the equities weigh in his

  favor.

              A. Likelihood of Success on the Merits

           As to the first and most important prong, Petitioner is likely to succeed on his claims that

  his detention violates his constitutional rights.

                        1. Facts Relevant to the Constitutional Claims

           On November 3, 2023, Petitioner walked past and then approached a pro-Israel event at

  the University of Massachusetts Amherst, where he was previously enrolled. Before engaging in

  a physical altercation with a pro-Israel protester, Petitioner waved a Palestinian flag, raised his

  middle fingers to pro-Israel protestors, and expressed his own pro-Palestine views using




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  sometimes crude language. Following the above-mentioned physical altercation, a police officer

  arrived on the scene. Three days later, Petitioner was charged for the altercation in East

  Hampshire District Court. After it was determined that Petitioner was neither a flight risk nor a

  danger to the community, he was released on $250.00 bail.

             Over the next 16 months, very little happened in connection to Petitioner’s conduct on

  November 3. Instead, he complied with all conditions of release and, with permission, traveled

  outside of the United States on two occasions, interacting with immigration officials upon

  reentry each time. Petitioner has since pled guilty to misdemeanors, 4 with no required

  imprisonment, resolving the criminal matter in whole.

             During this time, a profile for Petitioner appeared on the website for Canary Mission, an

  organization that claims its mission is to “document[] individuals and organizations that promote

  hatred of the USA, Israel and Jews on North American college campuses and beyond.” The

  profile of Petitioner discusses the events of November 3. On April 8, 2025, Betar Worldwide, an

  organization that claims its mission is “to empower Jews to stand strong, speak out, and defend

  their heritage and Israel against all threats,” tweeted an image from Petitioner’s Canary Mission

  profile. Along with the image, the tweet claimed to “have submitted [Petitioner’s] name for

  deportation.” [Dkt. 9-5]. It appears that Petitioner’s name had, in fact, recently been “submitted

  for deportation.” On April 9, 2025, just a day after the tweet, the Deputy Assistant Secretary of

  State for Visa Services sent a memo to ICE regarding revocation of Petitioner’s visa, effective

  that same day. 5 On April 10, 2025, the Department of Homeland Security issued an


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      Both Petitioner and Respondents confirmed that the pled-to misdemeanors cannot serve as grounds for removability.
  5
    The memo read: “On March 31, 2025, in response to a request from DHS/ICE and the assessment from DHS/ICE
  that Efe ERCELIK had been involved in antisemitic activities that ‘involvement in antisemitic activities, his hateful
  rhetoric against Jewish students, and his violent attack of Jewish student on campus may indicate support for a



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  administrative warrant for Petitioner’s arrest, claiming “the execution of a charging document to

  initiate removal proceedings against the subject” as a basis for the arrest.

           On April 16, nearly a week after the issuance of the warrant, ICE agents arrived at

  Petitioner’s home, demanding to arrest him. [Dkt. 9 at ¶ 25]. When asked for the warrant,

  officers stated they did not have one. Id. Despite Petitioner remaining in lawful immigration

  status, 6 officers claimed Petitioner was now “illegal” in the country and, according to the

  Petition, “that if [Petitioner] declined to surrender himself to those officers’ custody, regardless

  of their lack of a warrant, they would ensure that Petitioner will be charged with a federal hate

  crime and spend many years in federal prison.” Id. at ¶ 26.

           It so followed that Petitioner filed a habeas petition and a request for a temporary

  restraining order, asking this Court to direct ICE to refrain from arresting or detaining him until

  he resolved his criminal matter, and then to allow Petitioner to depart from the United States to

  Turkey, his home country, on a flight for which he had already bought a ticket. While Petitioner

  has made clear his intention to leave the country voluntarily (often referred to as self-

  deportation), his plan on its own is irrelevant to the Court’s analysis. Instead, the Respondents’

  actions to disrupt and delay his plan contrasts with the Trump Administration’s stated policy

  initiatives. This contrast offers additional evidence of the Respondents’ improper motive to

  detain the Petitioner.

           On May 5, 2025, the Government announced its intention to support those who planned

  to self-deport by providing financial and travel document assistance, including purchasing plane



  designated terrorist organization and undermine U.S. foreign policy by creating a hostile environment for Jewish
  Students.’ Including assault of a Jewish student on campus, the Bureau of Consular Affairs approved revocation on
  April 9, effective immediately.” [Dkt. 9-4].
  6
    While revocation of his visa renders Petitioner deportable, he remained in lawful immigration status until his SEVIS
  profile was terminated. Petitioner’s SEVIS profile was not terminated until 2:07 P.M. on May 7, 2025, seemingly
  after ICE took him into custody.


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  tickets, a $1,000 stipend, deprioritization for detention and removal by ICE, and the ability to

  “leave safely, travel normally.” Homeland Sec., CBP Home: Assistance to Voluntarily Self

  Deport (May 5, 2025). In the press release announcing the program, Respondent Noem stated,

  “If you are here illegally, self-deportation is the best, safest and most cost-effective way to leave

  the United States to avoid arrest . . . .This is the safest option for our law enforcement, aliens and

  is a 70% savings for US taxpayers.” Press Release, Dep’t Homeland Sec., DHS Announces

  Historic Travel Assistance and Stipend for Voluntary Self-Deportation (May 5, 2025). While it

  is unclear if Petitioner qualifies for the program, the preference for self-deportation is clear,

  preserving ICE’s resources and saving money for the American taxpayer.

         In his Amended Motion, Petitioner argues that there is “no basis for Petitioner’s detention

  aside from Respondents’ impermissible desire to inflict punishment on Petitioner for his political

  viewpoint.” [Dkt. 26 at 2].

                       2. First Amendment

         Petitioner alleges that his detention is motivated by retaliatory animus, targeting him for

  his political activism and speech. The facts leading to Petitioner’s arrest point to a likelihood of

  success on the merits of his First Amendment retaliation claim.

         The Supreme Court has said that “it is a fundamental principle of the First Amendment

  that the government may not punish or suppress speech based on disapproval of the ideas or

  perspectives the speech conveys.” Matal v. Tam, 582 U.S. 218, 248 (2017) (Kennedy, J.,

  concurring). Importantly, “speech on public issues [(i.e., political speech)] occupies the highest

  rung of the hierarchy of First Amendment values, and is entitled to special protection.” Connick

  v. Myers, 461 U.S. 138, 145 (1983) (internal quotation marks omitted); see also Virginia v.




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  Black, 538 U.S. 343, 365 (2003). These protections have long extended to noncitizens residing

  within the country. See Bridges v. Wixon, 326 U.S. 135 (1945).

         Here, Petitioner claims that ICE’s detention is retaliation for his protected speech. For

  his First Amendment retaliation claim, Petitioner must prove: (1) he engaged in constitutionally

  protected conduct; (2) he was subjected to an adverse action by the defendant; and (3) the

  protected conduct was a substantial or motivating factor in the adverse action. D.B. ex rel.

  Elizabeth B. v. Esposito, 675 F.3d 26, 43 (1st Cir. 2012) (citing González-Droz v. González-

  Colón, 660 F.3d 1, 16 (1st Cir. 2011)); Gorelik v. Costin, 605 F.3d 118, 123 (1st Cir. 2010);

  Centro Medico del Turabo, Inc. v. Feliciano de Melecio, 406 F.3d 1, 10 (1st Cir. 2005).

         As to the first element, Petitioner was likely engaged in protected speech. While, as

  Respondents argued, it is true that the Supreme Court has recognized specific categories of

  speech that are not protected, including true threats of, or actual, violence, Counterman v.

  Colorado, 600 U.S. 66, 72 (2023), the existence of acts that fall outside of the Amendment’s core

  protections does not wipe away safeguards for protected speech—particularly political speech.

  Cf. Ashcroft v. Free Speech Coal., 535 U.S. 234, 255 (2002) (“The Government may not

  suppress lawful speech as the means to suppress unlawful speech.”). Respondents argue that

  none of Petitioner’s conduct is protected, as his alleged physical altercation with another

  protestor falls within an unprotected category; however, this fails to acknowledge Petitioner’s

  other conduct, which certainly falls within the penumbras of protected speech.

         This protected speech includes engaging in a counter protest, waving of a Palestinian

  flag, the showing of his middle fingers, and his political, albeit sometimes crude, speech, all in

  the name of advocating for the Palestinian people. See, e.g., Texas v. Johnson, 491 U.S. 397,

  404-05 (1989) (“Especially pertinent to this case are our decisions recognizing the




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  communicative nature of conduct relating to flags. Attaching a peace sign to the flag; refusing to

  salute the flag; and displaying a red flag, we have held, all may find shelter under the First

  Amendment.” (citation omitted)); Cantrell v. Brunswick Me. Police, No. 23-CV-00283-NT,

  2024 WL 1859800, at *7 (D. Me. Apr. 29, 2024) (“Any reasonable officer would know that a

  citizen who raises [his] middle finger—an all-too-familiar gesture—engages in speech protected

  by the First Amendment.” (internal quotation marks omitted) (quoting Cruise-Gulyas v. Minard,

  918 F.3d 494, 495, 497 (6th Cir. 2019))). As a result, Petitioner was engaged in protected

  speech.

            Turning to the second element, clearly Petitioner has been subjected to an adverse action

  by the Respondents, namely, his detention.

            Finally, as to the third element, every fact points to Petitioner’s protected conduct as the

  substantial or motivating factor for Respondents’ pursuit of detention. First, as Respondents

  admitted, there is no ground other than the Secretary of State’s revocation of his visa that would

  render Petitioner deportable, and by extension, subject to ICE’s detention. As of May 7, 2025,

  Petitioner has pled guilty to misdemeanors and received a sentence of probation with no term of

  imprisonment. This conviction does not make Petitioner deportable. Further, the state

  prosecutor and judge involved in meting out Petitioner’s punishment for his behavior on

  November 3 determined that imprisonment would be an inappropriate resolution to the criminal

  matter.

            Second, the sequence of events, from Petitioner’s conduct on November 3 to his criminal

  arrest, to his appearance on politically motivated websites, to the revocation of his visa, to his

  arrest by immigration officers, strongly support the inference that Petitioner’s protected conduct

  was the motivating factor for his detention. More specifically, Petitioner took part in a protest




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  and was then arrested for the altercation on November 3, 2023. Petitioner was criminally

  charged on November 6 and released on $250.00 bail. Petitioner remained free on bail until the

  resolution of his criminal matter on May 7. ICE took no interest in Petitioner until March of

  2025, a period of at least 16 months. During that 16-month period, Petitioner complied with his

  conditions of release and even traveled out of the country on multiple occasions, interacting with

  immigration authorities at the airport.

         Instead, Respondents’ pursuit of detention seems to have been almost exclusively

  triggered by Betar Worldwide. On April 8, 2025, Betar Worldwide tweeted the profile of

  Petitioner hosted on the website for Canary Mission. Canary Mission and Betar Worldwide

  commonly identify pro-Palestinian students, professors, and professionals as targets for removal

  proceedings. The tweet from Betar Worldwide read: “We identify Efe Ercelik as one here on a

  visa and we have submitted his name for deportation. There’s so many of these bastards

  nationwide he’s an egregious one in Massachusetts, a rotten state.” [Dkt. 9-5]. On April 9, just

  the day after the Betar Worldwide tweet, the State Department issued a memo stating that

  Petitioner had been submitted by DHS/ICE for review on March 31, 2025 and revoking his visa,

  effective immediately. [Dkt. 9-4]. The memo itself identifies Petitioner’s protected conduct as a

  basis for the revocation, namely his “activities” and “rhetoric.”

         Third, Petitioner’s detention is contrary to the Government’s own policy initiatives. As

  discussed in depth at the hearings before the Court, there are a myriad of options to pursue

  removal absent initial detention. This is particularly true for someone like Petitioner, who was

  identified as neither a flight risk nor a danger to the community in his criminal case and

  remained on bond for more than a year and a half. Meanwhile, the Trump administration is

  actively offering a free plane ticket and $1,000.00 to any immigrant willing to self-deport. Press




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  Release, Dep’t of Homeland Sec., DHS Announces Historic Travel Assistance and Stipend for

  Voluntary Self-Deportation (May 5, 2025). Respondent Noem claimed that self-deportation is

  the safest option, both for the individual and for law enforcement, and argued that self-

  deportation eliminates a great deal of waste of taxpayer funds. 7 Id. Petitioner purchased his own

  plane ticket to return to Turkey and is not asking for a stipend, but instead of allowing the “safest

  option for our law enforcement” and a “70% savings for US taxpayers,” Respondents demand

  detention. It rises to the level of near absurdity that Respondents are working to deport many

  people quickly and at minimal expense to the American taxpayer, but absent an improper

  purpose, intend to extend Petitioner’s detention. While the Court must offer due deference to

  ICE’s enforcement prerogative, it is not a leap that it is Petitioner’s protected conduct (political

  viewpoint) that keeps Respondents so thoroughly intent on his detention. Instead, the Court is

  simply following the breadcrumbs left by the Government itself.

          Taken together, all these circumstances underscore Petitioner’s protected conduct as the

  substantial or motivating factor for ICE’s pursuit of his detention.

          Finally, at oral argument, Respondents discussed Reno to argue that such a retaliatory

  claim is unavailable to Petitioner. In Reno, the Supreme Court confronted a somewhat

  analogous case. There, six temporary residents and two lawful permanent residents brought a

  First Amendment claim seeking to enjoin their deportation proceedings. See generally Reno,

  525 U.S. 471. The Court explained that “an alien unlawfully in this country has no constitutional

  right to assert selective enforcement as a defense against his deportation.” Id. at 488. The Court

  went on to say, “in all cases, deportation is necessary in order to bring to an end an ongoing

  violation of United States law. The contention that a violation must be allowed to continue


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   For reference, imprisonment of one person in a Bureau of Prisons facility is $142.00 per day, $4,309.00 per month,
  and $51,711.00 per year.


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  because it has been improperly selected is not powerfully appealing . . . . When an alien’s

  continuing presence in this country is in violation of the immigration laws, the Government does

  not offend the Constitution by deporting him for the additional reason that it believes him to be a

  member of an organization that supports terrorist activity.” Id. at 491-92 (emphasis in original).

  The Supreme Court’s reliance on the petitioners’ ongoing violation makes Reno inapposite to the

  case at hand. As acknowledged by all parties, there is no other ground for Petitioner’s removal

  beyond his actions at the protest. In fact, Petitioner remained in lawful immigration status until

  his SEVIS was terminated at 2:07 P.M. on May 7. 8 There was no “ongoing” violation of United

  States law until after he had been detained.

           Instead, Petitioner is more similarly position to the petitioner in Ragbir, in which Ragbir,

  a former legal permanent resident, alleged retaliation for protected speech. 923 F.3d 53. There

  the Second Circuit found that “[b]ecause Ragbir’s speech concerns ‘political change,’ it is also

  ‘core political speech’ and thus ‘trenches upon an area in which the importance of First

  Amendment protections is at its zenith.’” (emphasis in original) Id. at 70. The court went on to

  say that “[a] plausible, clear inference is drawn that Ragbir’s public expression of his

  criticism . . . played a significant role in the recent attempts to remove him . . . . To allow this

  retaliatory conduct to proceed would broadly chill protected speech, among not only activists

  subject to final orders of deportation but also those citizens and other residents who would fear

  retaliation against others.” Id. at 71. In the same way the Second Circuit found it appropriate to

  consider the selective deportation claim in these circumstances, this Court finds it appropriate to

  consider Petitioner’s detention-as-retaliation claim.




  8
   Petitioner questioned whether the proper procedures were followed in terminating his SEVIS, but that is not presently
  before the Court.


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         In light of the above, the Court finds that Petitioner has a high likelihood of success on

  the merits of his First Amendment claim.

                       3. Fifth Amendment

         Petitioner also alleges a Fifth Amendment due process violation, claiming his detention

  lacks legitimate justification. Indeed, the state court previously determined that Petitioner was

  neither a flight risk nor a danger to the community, setting bail at $250.00 and allowing him to

  remain free under conditions of release. He has not only complied with all conditions imposed

  on him, but has also traveled outside of the country twice while on pre-trial release. Thus, his

  current detention appears punitive rather than administrative, raising significant due process

  concerns. It so follows that Petitioner has demonstrated a likelihood of success on his Fifth

  Amendment claim.

         The Due Process Clause of the Fifth Amendment provides that “[n]o person . . . [shall be]

  deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.

  “Freedom from imprisonment—from government custody, detention, or other forms of physical

  restraint—lies at the heart of the liberty that Clause protects.” Zadvydas v. Davis, 533 U.S. 678,

  690 (2001). Further, “the Due Process Clause applies to all ‘persons’ within the United States,

  including aliens, whether their presence here is lawful, unlawful, temporary, or permanent” and

  substantive due process claims are available in the context of immigration detention. Id. at 693-

  94 (citing Wong Wing v. U.S., 163 U.S. 228).

         Petitioner claims that his immigration detention violates the Due Process Clause because

  it is motivated by an improper purpose. While the Supreme Court has held that “[d]etention

  during deportation proceedings [i]s a constitutionally valid aspect of the deportation process . . .

  [and] the Due Process Clause does not require [the government] to employ the least burdensome




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  means to accomplish its goal,” the ability to detain a noncitizen is not unlimited. Demore, 538

  U.S. at 523, 528. Specifically, civil detention cannot be punitive. Fong Yue Ting v. United

  States, 149 U.S. 698, 730 (1893); see also Zadvydas, 533 U.S. at 690. “Rather than punishment,

  immigration detention must be motivated by the two valid regulatory goals that the government

  has previously argued motivate the statute: ‘ensuring the appearance of aliens at future

  immigration proceedings and preventing danger to the community.’” Ozturk, 2025 WL

  1145250, at *20 (quoting Zadvydas, 533 U.S. at 690).

         Petitioner is likely to succeed on the merits of his due process claim because the pursuit

  of detention here is punitive. In addition to the First Amendment retaliation claim discussed

  above, at the motion hearing held before this Court, Respondents’ counsel stated in no uncertain

  terms that ICE is seeking detention because “actions have consequences.” Immigration

  detention cannot be a punitive “consequence” for actions addressed in the state criminal court.

  Even the arrest warrant for Petitioner, only produced by Respondents the day after the May 5

  hearing before this Court, reinforces the idea that Petitioner’s arrest is punitive. [Dkt. 21-1]. The

  arrest warrant, issued April 10, 2025, is based upon “the execution of a charging document to

  initiate removal proceedings against the subject.” Id. Yet, the charging document, also known

  as an NTA, which was provided by Respondents on May 7 at the third hearing before this Court,

  was not completed until April 25—nine days after ICE agents attempted to detain the Petitioner.

  The NTA also includes a certificate of service where an agent signs to confirm service.

  According to the NTA provided, an agent signed to affirm it had been served upon the Petitioner

  in person on the same day as its creation, April 25. This cannot be true. In brief, not only was

  there no charging document when Respondents attempted to detain Petitioner on April 16, agents

  then misrepresented the date of service, which is no earlier than May 7.




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         Respondents have done nothing to disabuse the Court of the most obvious conclusion:

  prolonging the Petitioner’s detention was intended to be punitive. Thus, Petitioner is likely to

  succeed on his Fifth Amendment claim. Respondents have claimed nothing but ICE’s discretion

  as a talisman of protection. In the name of discretion, Respondents ask the Court to close its

  eyes to reality. The guarantees of the Constitution allow no such thing.

                       4. Sixth Amendment

         While Petitioner also raises a claim on Sixth Amendment grounds, the Court declines to

  assess the claim here, as the criminal matter on which the claim was based has concluded.

             B. Irreparable Harm

         Petitioner has and will continue to suffer irreparable harm absent court intervention.

  Petitioner was arrested and detained as retaliation, depriving him of his liberty as a consequence

  for other constitutionally protected conduct. The right to be free from government detention is

  one of the most basic guarantees of our democracy. His confinement inflicts immense stress and

  fear, which on its own, constitutes irreparable harm. See Melendres v. Arpaio, 695 F.3d 990,

  1002 (9th Cir. 2012) (recognizing that the fear of being subject to unlawful detention may itself

  constitute irreparable harm). Further, Petitioner’s fear of detention is particularly acute as

  Respondents negotiate with foreign governments to place those in immigration custody in

  detention facilities in countries such as Libya, Rwanda, Saudi Arabia and El Salvador. The plan

  to send detained immigrants to Libya has been reported widely despite a report from the State

  Department stating that “[p]risons and detention facilities were often overcrowded, and

  conditions were harsh and life threatening.” U.S. Dep’t of State, Libya 2023 Human Rights

  Report 9 (2023) (“[D]etainees were denied adequate access to water, food, toilets, sanitation,

  light, exercise, medical care, legal counsel, and communication with family members. Poor and




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  unsafe infrastructure was common and exacerbated sanitation problems, which contributed to the

  spread of communicable diseases.”); see also Eric Schmitt, Hamed Aleaziz, Maggie Haberman

  & Michael Crowley, Trump Administration Plans to Send Migrants to Libya on a Military

  Flight, N.Y. Times (May 6, 2025).

          Conversely, Respondents will not suffer irreparable harm if injunctive relief is granted.

  Respondents remain free to pursue formal removal proceedings. By contrast, every day

  Petitioner is detained because of his political views constitutes a significant injury. Elrod v.

  Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms, for even minimal

  periods of time, constitutes irreparable harm.”).

          As a result, the irreparable harm to Petitioner, and lack of harm to Respondents, supports

  the issuance of a preliminary injunction.

              C. Balancing of Equities and Public Interest

          Finally, the Court must balance the parties’ relative hardships and consider the public

  interest. These factors merge because the Respondents oppose the preliminary injunction. Nken,

  556 U.S. at 435.

          Petitioner’s detention raises serious First and Fifth Amendment concerns. Beyond the

  obvious hardship that comes with Petitioner suffering an unconstitutional harm, which grows

  with every moment spent in custody, there is “substantial public interest ‘in having governmental

  agencies abide by the federal laws.’” League of Women Voters of U.S. v. Newby, 838 F.3d 1,

  12 (D.C. Cir. 2016) (quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)).

  Unlawfully restricting protected speech or interfering with due process rights is squarely against

  public interest.




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         Conversely, there seems to be little to counterbalance the other side of the ledger. As

  discussed, Petitioner intended to leave the United States following the conclusion of his criminal

  matter. That would both address any concerns Respondents have for the public safety, despite a

  criminal court finding that Petitioner did not pose a risk of danger, and would seemingly support

  the Respondents’ policy initiatives. As Respondent Noem stated, “self-deportation is the best,

  safest and most cost-effective way to leave the United States.” Press Release, Dep’t Homeland

  Sec., DHS Announces Historic Travel Assistance and Stipend for Voluntary Self-Deportation

  (May 5, 2025).

         In sum, granting the preliminary injunction would serve the Petitioner and the public by

  protecting against continuing constitutional violations. Further, it would help to serve the

  Respondents’ policy interests in quickly removing Petitioner at the lowest expense to the

  American taxpayer. As a result, the balance of the parties’ relative hardships strongly weighs in

  favor of issuing the injunction.



   V.    CONCLUSION

         “The court is invested with the largest power to control and direct the form of judgment

  to be entered in cases brought up before it on habeas corpus.” In re Bonner, 151 U.S. 242, 261

  (1894). If detention is found unlawful, the court has power to delay discharge until steps to

  correct the defects are taken. See Mahler v. Eby, 264 U.S. 32, 46 (1924) (citing cases). Indeed,

  the fundamental purpose of habeas corpus is to allow individuals in custody to challenge the

  legality of their detention, with its traditional function being “to secure release from” unlawful

  confinement. Gicharu v. Moniz, No. 23-CV-11672-MJJ, 2023 WL 5833115, at *1 (D. Mass.

  Sept. 8, 2023) (quoting Preiser v. Rodriguez, 411 U.S. 475, 484 (1973)).




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         Elections have consequences. Actions have consequences. These are two true

  statements. Congress granted ICE broad authority and discretion to discharge its lawful duties

  and generally stripped district courts from judicial review. However, district courts do not lose

  authority to address constitutional violations. This is especially important since, in the end,

  constitutional issues cannot be reviewed by an immigration court. When an agency

  procrastinates and prolongs detention to mete out punishment, as demonstrated here, it is an

  unlawful use of its authority.

         Having considered the Petition, Amended Motion, supporting memorandum, exhibits,

  and applicable legal principles, and in light of the severe consequences for Petitioner and broader

  public interest in ensuring governmental adherence to Constitutional principles, the Court finds

  that Petitioner has met the necessary criteria for injunctive relief and ORDERS as follows:

             1. Petitioner’s Amended Motion is GRANTED;

             2. Respondents are ORDERED to release Petitioner from custody immediately;

             3. Respondents—along with their officers, agents, servants, employees, attorneys,

                 successors, assigns, and all persons acting in concert or participation with them—

                 are ENJOINED from arresting, detaining, or otherwise restricting Petitioner’s

                 liberty in any manner until further order of this Court for any reason related to the

                 issues litigated herein;

             4. Should Respondents seek to detain Petitioner on any basis other than that

                 addressed in the Petition [Dkt. 9], they are ORDERED to provide sufficient

                 advance notice to the Court and Petitioner’s counsel, allowing Petitioner an

                 opportunity to be heard on whether such asserted basis for detention constitutes a

                 pretext for retaliation;




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            5. Respondents are ORDERED to return Petitioner’s personal property to him;

            6. No security bond is required under Federal Rule of Civil Procedure 65(c);

            7. This Order shall remain in effect until further order of this Court; and

            8. Respondents’ request for a stay pending appeal is DENIED.

        SO ORDERED.

  Dated: May 8, 2025                                          /s/ Angel Kelley
                                                              Hon. Angel Kelley
                                                              United States District Judge




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                             Exhibit B
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                                                                            APPEARANCES:


                                                           1                JESSIE ROSSMAN, ESQ., JULIAN B. BAVA, ESQ., RACHEL E. DAVIDSON,
                                                                                 ESQ., and ADRIANA LAFAILLE, ACLU Foundation of
                                                                                 Massachusetts, Inc., One Center Plaza, Suite 850, Boston,
                 UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF VERMONT                                    MA 02108, Counsel for the Petitioner
RUMEYSA OZTURK,                    )    CIVIL ACTION NO.
               Petitioner,         )    2:25-cv-374
                                   )                                        NOOR ZAFAR, ESQ., American Civil Liberties Union Foundation,
          v.                       )
                                   )
                                                                                 125 Broad Street, Floor 18, New York, NY 10004, Counsel
PATRICIA HYDE, in her official     )                                             for the Petitioner
capacity as the New England        )
Field Office Director, U.S.        )
Immigration and Customs            )
Enforcement; MICHAEL KROL, in his )                                         LIA N. ERNST, ESQ., and MONICA H. ALLARD, ACLU Foundation of
official capacity as HSI New       )
England Special Agent in           )                                             Vermont, 137 Elm Street, P. O. Box 277, Montpelier, VT
Charge, U.S. Immigration and       )
Customs Enforcement; TODD          )                                             05601-0277, Counsel for the Petitioner
LYONS, in his official capacity as )
Acting Director, U.S. Immigration )
and Customs Enforcement; KRISTI    )                                        MAHSA KHANBABAI, ESQ., Khanbabai Immigration Law, 115 Main
NOEM, in her official capacity as )
Secretary of the United States     )                                             Street, Suite 1B, North Easton, MA 02356, Counsel for the
Department of Homeland Security;   )
MARCO RUBIO, in his official       )                                             Petitioner (Via Videoconference)
capacity as Secretary of State;    )
and DONALD J. TRUMP, in his        )
official capacity as President     )
of the United States,              )
                                                                            MUDASSAR H. TOPPA, ESQ., CLEAR Project, Main Street Legal
               Respondents.        )                                             Services, Inc., CUNY School of Law, 2 Court Square, 5th
                                                                                 Floor, Long Island City, NY 11101, Counsel for the
                         BAIL HEARING
                      Friday, May 9, 2025                                        Petitioner
                      Burlington, Vermont


BEFORE:                                                                     MICHAEL P. DRESCHER, ESQ., Acting United States Attorney, 11

    THE HONORABLE WILLIAM K. SESSIONS III,
                                                                                 Elmwood Avenue, 3rd Floor, P. O. Box 570, Burlington, VT
    District Judge                                                               05402-0570, Counsel for the Respondents



                    Johanna Massé, RMR, CRR
                    Official Court Reporter
                         P. O. Box 5852
                     Burlington, VT 05402
            802-951-8102 | 802transcripts@gmail.com




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WITNESS                                         PAGE             1     Friday, May 9, 2025

                                                                 2        (The following was held in open court at 10:17 AM.)
RUMEYSA OZTURK
  Direct by Mr. Bava                              19
                                                                 3              COURTROOM DEPUTY: This is civil case number 25-374,

                                                                 4     Rumeysa Ozturk v. Patricia Hyde, et al. Present for the
JESSICA B. McCANNON, M.D.
                                                                 5     petitioners -- petitioner in the courtroom are Attorneys
   Direct by Ms. Rossman                          45
   Cross by Mr. Drescher                          64             6     Adriana Lafaille, Jessie Rossman, Julian Bava, Lia Ernst,
   Redirect by Ms. Rossman                        66             7     Monica Allard, Mudassar Toppa, Noor Zafar, and Rachel Davidson.

SARA K. JOHNSON, Ph.D.                                           8     Present remotely with the petitioner is Attorney Mahsa
   Direct by Ms. Zafar                            68             9     Khanbabai. Also present in the courtroom for the respondent is

                                                               10      Assistant United States Attorney Michael Drescher.
BECKY PENBERTHY
   Direct by Ms. Allard                           81           11           The matter before the Court is a bail hearing.
   Cross by Mr. Drescher                          94
                                                               12               THE COURT: Okay. Good morning, everyone. I

                                                               13      appreciate people attending the hearing, the public. You

                                                               14      certainly are welcome, and I just want to remind all of you

                                                               15      that this is -- this is a court of law, which follows the rule

                                                               16      of law, and so that any emotional outbursts should not happen.

                                                               17           So we were here initially on a status conference. The

                                                               18      United States Court of Appeals for the Second Circuit issued

                                                               19      its decision on May 7th. We had initially scheduled a bail

                                                               20      hearing for this day because the Circuit Court ruled on the

                                                               21      7th -- it extended the time for Ms. Ozturk to be here, to be

                                                               22      transported here.

                                                               23           I had initially said that I thought it was very important,

                                                               24      in particular in a bail hearing or setting conditions of

                                                               25      release, together with a habeas hearing, that she be afforded
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1    the opportunity to be present, and so as a result, I postponed              1              MS. ALLARD: On this issue, I'll speak, Your Honor.

2    the bail hearing. And then we were going to go forward with                 2     My name is Monica Allard. I'm with ACLU of Vermont.

3    the status conference, and then I learned from petitioner's                 3              THE COURT: Okay.

4    counsel that she wished to waive her right to be present and be             4              MS. ALLARD: We would like to move forward with the

5    here virtually, and petitioners were asking that we reinstate               5     bail hearing today. We don't believe that our client will be

6    the bail hearing.                                                           6     prejudiced by moving forward virtually.

7         My view was that the Circuit in its decision postponed the             7              THE COURT: Okay. Ms. Ozturk, good morning.

8    bail hearing because it wanted to afford the petitioner the                 8              THE PETITIONER: Good morning, Your Honor.

9    opportunity to be present here in court, to speak with counsel,             9              THE COURT: Your lawyers have said that you wish to go

10   and to participate in the preparation of today's hearing, and             10      forward with the hearing even though obviously you're not in

11   so really it was a concern over whether Ms. Ozturk could                  11      Vermont but you're here virtually and that you would not be

12   adequately participate. And when I learned that she wished to             12      prejudiced by going forward now. Is that your wish at this

13   waive her right to be present here and be here virtually and              13      point?

14   that that would not prejudice her in any particular way, then             14               THE PETITIONER: Yes, that's true, Your Honor.

15   we changed again this hearing to a bail hearing.                          15               THE COURT: Okay. And you had an opportunity to speak

16        So I guess my first question is to counsel for the                   16      with your lawyers to make sure that you go over the need for

17   petitioners: Do you wish to go forward on the bail hearing, or            17      you to be here present -- to be in person but that you really

18   would you wish to postpone the bail hearing until your client             18      want to go forward?

19   is present in Vermont and is able to participate personally?              19               THE PETITIONER: Yes, that's true, Your Honor.

20            MS. ROSSMAN: We -- oh.                                           20               THE COURT: Okay. All right. Thank you.

21            MS. ALLARD: Thank you, Your Honor.                               21               THE PETITIONER: Thank you, Your Honor.

22        We'd like to move forward with the bail hearing.                     22               THE COURT: All right. So regarding a bail hearing,

23            THE COURT: So are we going to have bouncing --                   23      let me turn first to the petitioner. It's your request that

24   bouncing lawyers here? Let's see. Who wants to speak on that              24      your client be released, and who is going to argue on behalf of

25   issue?                                                                    25      the petitioner?
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1             MS. ROSSMAN: Your Honor, we have several individuals               1     speech, the student op-ed that she had co-authored, and her

2    who are ready to present witnesses, but I'm happy to present an             2     detention, and the petitioners responded. In our most recent

3    opening for Your Honor if that would be helpful.                            3     filing last week, we put forth a declaration of two experts in

4             THE COURT: All right. It would be helpful. But                     4     student immigration visas - that is both Ms. French and

5    another thing that would be helpful would be to go to the                   5     Ms. Goss - and both of them declared that in their decades of

6    podium, because I find this courtroom to be just a little bit               6     experience as experts in student visas in higher education,

7    long and distant, and it's really helpful for me to have                    7     they had never seen a student who had been detained as a result

8    someone close.                                                              8     of a visa revocation or student status termination. And as we

9             MS. ROSSMAN: Good morning, Your Honor.                             9     know from cases like Women's Interart from the Southern

10            THE COURT: Good morning.                                         10      District of New York, these kinds of departures from normal

11            MS. ROSSMAN: And again, petitioners appreciate the               11      procedures are the kinds of things that a court can infer

12   Court's efforts to transfer Ms. Ozturk here in advance of this            12      improper motivations from.

13   bail hearing and attention to her ability to participate and              13             This court had also flagged that medical conditions was

14   also the accommodation of both Your Honor and the entire                  14      one of the things that was going to need to be considered as a

15   courtroom staff to facilitate this happening remotely.                    15      part of Your Honor's bail consideration.

16            THE COURT: Okay.                                                 16                THE COURT: As a part of extraordinary circumstances,

17            MS. ROSSMAN: Your Honor, three weeks ago, this court             17      yes.

18   held Ms. Ozturk had raised serious free speech and due process            18                MS. ROSSMAN: Exactly, Your Honor.

19   concerns in her pending habeas petition. Twenty-one days have             19                THE COURT: Right. And my understanding is she's had

20   passed since Your Honor's ruling, and some things have changed,           20      eight separate asthma attacks?

21   some things have remained the same, but everything presents an            21                MS. ROSSMAN: Your Honor, that was at the last time

22   even stronger case for Ms. Ozturk's bail petition today than it           22      that there was a declaration, and I believe you're going to

23   did when we were last before Your Honor.                                  23      hear from Ms. Ozturk today that in fact from the last time she

24        So what has changed? Your Honor had asked for additional             24      submitted a declaration to this court, there have been

25   evidence of the connection between Ms. Ozturk's protected                 25      additional asthma attacks that she has experienced while she
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1    has been in detention.                                                     1     housing; is that correct?

2        And again, the petitioner responded to Your Honor's                    2              MS. ROSSMAN: Tufts has offered several different

3    request. There's a lengthy declaration that Ms. Ozturk herself             3     options, Your Honor, of housing, including on-campus housing,

4    provided that went into far more detail about her experiences              4     and as you'll hear today from Becky Penberthy, who is here in

5    with asthma, both while she was still at Tufts and during her              5     Burlington at the CJC, Community Justice Center, that is

6    time in detention. In addition, there's a declaration from                 6     something that she is able and willing to help Ms. Ozturk look

7    Dr. Caggiano, who's the medical director at Tufts University,              7     through her different options and choose one of the housing

8    and she spoke about the care that Ms. Ozturk had received and              8     options that Tufts is making available to her, and that is a

9    would receive if she went back to Tufts.                                   9     declaration in addition to the declaration that Tufts submitted

10           THE COURT: Yeah. And Dr. McCannon.                               10      that, again, Ms. Penberthy, who is at the Burlington Community

11           MS. ROSSMAN: Exactly, Your Honor. Dr. McCannon is a              11      Justice Center, has decades of experience in restorative

12   board certified pulmonologist and who you'll also hear live              12      justice, has spent time both speaking with Ms. Ozturk as well

13   testimony from today.                                                    13      as officials at Tufts, and has indicated that she's ready and

14       In addition, Your Honor had indicated that you were                  14      willing to help with pretrial services if Ms. Ozturk is

15   inclined to hear some information about what release could look          15      released.

16   like for Ms. Ozturk and what are the kinds of systems that               16               THE COURT: All right. So there's a little bit of a

17   would be in place, and petitioners again responded. There's a            17      complicated issue as to who would supervise her if she is

18   declaration from Thomas from Tufts University - Dean Thomas, I           18      released. It doesn't require necessarily the supervision of a

19   should say, excuse me - articulating the steps that Tufts is             19      probation officer, but because this is a civil as opposed to a

20   ready to take both with respect to financial grants and awards           20      criminal case, you can't get probation officers to supervise.

21   to Ms. Ozturk that she has pending for her as well as housing            21           My understanding is that Ms. Penberthy at the Burlington

22   and other steps that the university would take.                          22      center would be willing to provide some supervision?

23           THE COURT: So the housing that was suggested is                  23               MS. ROSSMAN: That is correct, Your Honor. You're

24   actually going to be on campus? I mean, this is -- this is               24      going to be hearing from her directly today. We'll be

25   moving her away from where she has been living to campus                 25      presenting her testimony. If Your Honor has additional
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1    questions for her, she'll be able to answer them about what                 1     District of New York, and sometimes even in New Jersey. And

2    that could look like.                                                       2     I'd be happy to provide those citations to Your Honor of

3         In addition to providing responses to the questions that               3     instances and examples here in the Circuit where judges have

4    petitioners understood were outstanding from the Court, in the              4     been able to issue bail orders.

5    past ten days, two other courts, both one court here in the                 5              THE COURT: Well, so you obviously know that there's

6    District of Vermont - that is in Mr. Mahdawi's case - and in                6     been a disagreement between the sides, between the government

7    the District of Minnesota in the case of Mr. Mohammed H., two               7     and you, as to the jurisdiction of the Court. That's been

8    different courts in the past ten days have granted bail pending             8     resolved by the Circuit. That's been resolved, I think, by my

9    habeas petitions that similarly alleged unconstitutional                    9     earlier decision, but it's also been resolved pretty

10   government retaliation for protected speech.                              10      definitively, very definitively, by the Circuit. So you do not

11            THE COURT: Well, let me ask you about the Minnesota              11      anticipate any problem if this court were to order her to be

12   case. Was that petitioner in Minnesota at the time that that              12      released?

13   order was in effect, or was that petitioner also in Louisiana?            13               MS. ROSSMAN: We would anticipate the government and

14            MS. ROSSMAN: That petitioner was in Minnesota, Your              14      would want the question to be put directly to the government's

15   Honor. But it's -- there's a long line of cases of instances              15      attorney of them complying with any order that this court

16   where district courts, once they have established habeas                  16      issued as a part of its habeas power, which would include, of

17   jurisdiction, as Your Honor has here and as the Second Circuit            17      course, Your Honor being able to issue a bail order.

18   has recognized, then being able to, because they have                     18               THE COURT: And do you know if there is a pattern

19   jurisdiction over habeas, effectuate a bail order even if the             19      established in Louisiana in which the authorities in Louisiana,

20   individual is not physically in the location of the court at              20      the ICE authorities, have complied with judicial orders

21   the time of the bail determination.                                       21      requiring the release of habeas petitioners?

22        And there's a series of cases, for example, Your Honor,              22               MS. ROSSMAN: Well, I believe what is really pressing

23   during COVID when, in the Southern District of New York,                  23      here, Your Honor, is that the government is here in this

24   different courts were issuing bail petitions when petitioners             24      courtroom, of course, being represented, and a lawful order, as

25   were either in the Northern District of New York, Eastern                 25      a bail order under this court's habeas jurisdiction would be,
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1    that is issued to the government then needs to be complied                  1               THE COURT: Yes.

2    with. The mere fact that ICE is -- there are ICE officials in               2               MS. ROSSMAN: I think it's also really important to

3    Louisiana, they're still the client of the government that is               3     focus on what has remained the same. The government still has

4    here, and we heard opposing counsel the last time we were                   4     not produced a single piece of evidence to petitioners or to

5    before this court say directly on the record that the                       5     this court in support of its detention of Ms. Ozturk or to

6    government was ready, willing, and able to comply with any                  6     oppose bail.

7    orders that Your Honor --                                                   7               THE COURT: Okay. So what about -- what about the

8             THE COURT: I certainly --                                          8     report in the Washington Post that immigration authorities had

9             MS. ROSSMAN: -- issued.                                            9     investigated your client and found that there was no evidence

10            THE COURT: -- anticipate that, but my question was a             10      of her participating in any groups that would be advocating

11   little bit different. Is there a pattern of acceptance of                 11      violence or Hamas or anything else? Have you received that?

12   orders from Article III judges who have persons in ICE custody            12                MS. ROSSMAN: We have not, Your Honor, and as you are

13   before them on habeas petitions, is there a pattern of                    13      aware, we asked multiple times both to the government counsel

14   authorities -- ICE authorities in Louisiana accepting those               14      themselves and had moved for this court and had asked that the

15   orders and releasing --                                                   15      government produce it at the least by the May 2nd deadline that

16            MS. ROSSMAN: I don't know specifically, Your Honor,              16      Your Honor had set for any evidence that was going to be

17   with respect to ICE officials in Louisiana.                               17      produced by the time of bail. Of course, the government both

18            THE COURT: Okay. All right.                                      18      refused to produce it to us; it opposed our motion to this

19            MS. ROSSMAN: But I would expect them to comply with              19      court. We think at the very least any inference that would be

20   any court order.                                                          20      made from that memo that still has not been produced needs to

21            THE COURT: No, I would as well, but I'm interested to            21      be in furtherance of the petitioner's request here to get bail.

22   know whether there is that established pattern. But go ahead.             22                THE COURT: Well, did the government to you

23            MS. ROSSMAN: So I believe, Your Honor, we've spoken              23      acknowledge that they were in possession of that report, that

24   about all of the things that have changed since the last time             24      investigation, but for whatever reason refused to surrender it

25   we were before you.                                                       25      to you?
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1             MS. ROSSMAN: What the -- I don't recall, Your Honor,              1     it ended up pushing back even further Ms. Ozturk's ability to

2    specifically hearing from opposing counsel whether or not they             2     be here in person. So we have seen time and again that this is

3    were in possession of the report. I believe the specific                   3     getting pushed back farther because of procedural mechanisms.

4    wording was if the report that is in the Washington Post is                4          And, of course, Ms. Ozturk is still in detention. That is

5    accurate, they then alleged two different reasons why they felt            5     the thing that is the most important that has remained the

6    that they could not produce it. Both of those, Your Honor,                 6     same, but it has now been for weeks longer, experiencing

7    both as a statutory matter and the deliberative process                    7     numerous additional asthma attacks, all because she wrote an

8    privilege, are, of course, qualified privileges, and both of               8     op-ed.

9    them yield to the interest of justice. Here, where the very                9          Petitioners are prepared today to provide live testimony,

10   motivations of the government in detaining Ms. Ozturk,                   10      both from Ms. Ozturk herself as well as Dr. Jessica McCannon,

11   particularly when they have not been able to point to anything           11      which will underscore her significant health risks if she

12   other than her protected speech, are, of course, at the heart            12      remains in detention and her need for release. Ms. Ozturk is

13   of this matter, it would certainly be in the interest of                 13      also going to testify, along with Professor Sara Johnson, to

14   justice to produce the memo. They have not done so.                      14      describe her deep ties to Tufts University, her integration

15            THE COURT: All right.                                           15      into the community, her need to return in order to continue her

16            MS. ROSSMAN: The government has also, Your Honor,               16      academic pursuits, and the supports that she will have at the

17   continued to use procedural mechanisms that has further delayed          17      university if she returns, as well as, as we were discussing

18   Ms. Ozturk's time in detention. Of course, when Your Honor               18      earlier, the testimony of Ms. Becky Penberthy from the

19   issued the April 18th order, you provided a four-day stay of             19      Burlington Community Justice Center about the systems that she

20   that order. The government did not file their notice of appeal           20      can assist -- help put in place to make sure that her release

21   on the first, second, or third day. It took until the evening            21      is successful.

22   of the fourth day for the notice of appeal to be filed and a             22               THE COURT: So my understanding is that Professor

23   request for a second stay from this court at that same time.             23      Johnson worked closely with your client in her field. She's

24   Of course, both Your Honor and ultimately the Second Circuit             24      not the one responsible for setting up the housing, the

25   denied that request for stay as not justified. Nevertheless,             25      compensation that she's receiving; that's the dean, as I
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1    thought.                                                                   1             MS. ROSSMAN: Thank you, Your Honor.

2               MS. ROSSMAN: That's correct, Your Honor.                        2             THE COURT: So you've got three witnesses to present.

3               THE COURT: And is she testifying?                               3             MS. ROSSMAN: Four witnesses, Your Honor.

4               MS. ROSSMAN: She is not testifying here today, Your             4             THE COURT: Four. Okay.

5    Honor.                                                                     5             MS. ROSSMAN: Yes.

6               THE COURT: She has an affidavit -- she has produced             6             THE COURT: All right. So let me ask the government,

7    an affidavit.                                                              7     do you have any witnesses to present at this point?

8               MS. ROSSMAN: That's correct. There's a sworn                    8             MR. DRESCHER: No.

9    declaration from the dean, and in addition, Ms. Becky Penberthy            9             THE COURT: Okay.

10   had conversations with Tufts University about all of those               10              MS. ROSSMAN: May we proceed, Your Honor?

11   supports, and she would be ready to testify to that as well.             11              THE COURT: I think we can go right to the witnesses.

12        After all of this testimony, Your Honor, as well as the             12      Whom do you wish to call first?

13   written testimony which I know is voluminous before the Court,           13              MS. ROSSMAN: Our first witness, Your Honor, is going

14   Ms. Ozturk is going to ask this court to grant bail and to do            14      to be Ms. Ozturk herself.

15   so immediately and to do so without a stay, Your Honor, and the          15              THE COURT: Okay. Ms. Ozturk, would you stand and be

16   core of the writ of habeas corpus and the government's behavior          16      sworn, please.

17   since March 25th demand nothing less.                                    17              THE WITNESS: Yes.

18        Right now the clear message that the government is sending          18              COURTROOM DEPUTY: Please raise your right hand.

19   to everyone who is watching is that you can be detained                  19              THE WITNESS: Yes, Judge.

20   thousands of miles from your home for more than six weeks for            20                             RUMEYSA OZTURK,

21   writing a single student newspaper article. The petitioner               21           having been first duly sworn by the courtroom deputy,

22   needs this court to uphold the power of the writ to alleviate            22                   was examined and testified as follows:

23   that constitutional violation and also to ameliorate the chill           23              THE WITNESS: I do swear, Your Honor.

24   that it is casting on anyone else who is watching.                       24              THE COURT: Okay. You can proceed.

25              THE COURT: Okay.                                              25              MR. BAVA: Thank you.
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1                           DIRECT EXAMINATION                                 1      my department. For example, I have been included -- like, I

2    BY MR. BAVA:                                                              2      have been participated in department service events, including

3    Q    Ms. Ozturk, would you please state your full name.                   3      doctoral student union, belonging committee, including student

4    A    Of course. My name is Rumeysa Ozturk.                                4      presentation day committee.

5    Q    And where are you currently located?                                 5           Also, I have -- like, I was included -- like, I was part

6    A    I am currently located in South Louisiana ICE Processing             6      of some community art projects, such as --

7    Center.                                                                   7           (Interruption by the reporter.)

8    Q    And how long have you been there?                                    8      Q    BY MR. BAVA: Ms. Ozturk, sorry. I think the court

9    A    I have been here for six weeks, I believe.                           9      reporter's having trouble understanding what you're saying, so

10   Q    And where were you studying before you were detained?              10       maybe if you can slow down.

11   A    I was studying at Tufts University --                              11       A    Okay. Of course. Would you prefer that I start from the

12        (Interruption by the reporter.)                                    12       beginning?

13   Q    BY MR. BAVA: Ms. Ozturk, can you repeat your answer?               13       Q    Yes. Why don't you repeat your answer.

14   A    Yes. I was studying at Child Study and Human Development           14       A    Okay. Of course. So my primary participation has been in

15   Department as a Ph.D. student at Tufts University.                      15       my department. I have been -- I have participated in various

16   Q    And how far along were you in your Ph.D. when you were             16       activities including department service events, student

17   detained?                                                               17       activities, and some activities that I organized by myself.

18   A    I am in my fifth year in my doctoral program, and I have           18       For example, I have been part of doctoral student committee. I

19   submitted my dissertation proposal's first draft.                       19       have been part of belonging committee. I have been part of

20   Q    And about how much time do you have remaining in your              20       faculty search committee. I have been part of a community art

21   Ph.D.?                                                                  21       project called Beautiful Stuff where we make mosaics in all

22   A    I have about seven to nine months to finish my studies.            22       parts of our community, including children, professors, and

23   Q    And, Ms. Ozturk, what kind of activities were you engaged          23       community members.

24   in at Tufts University before you were detained?                        24            (Interruption by the reporter.)

25   A    I have been included in various activities, primarily in           25       Q    BY MR. BAVA: I'm sorry. Ms. Ozturk, can you pause for
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1    one second?                                                                1      teaching assistant to all the courses that were offered at my

2    A    Yes.                                                                  2      department related to children's and adolescents' media use

3             THE COURT: So can I just interrupt just for a second?             3      that includes media literacy, creating media for children,

4             MR. BAVA: Yes.                                                    4      children on mass media, and one more course. I can't remember

5             THE COURT: So you were talking about being a                      5      its name.

6    participant in a larger group dealing with your studies. I                 6          The second --

7    think your studies in general with the department, but also                7               THE COURT: Okay. So you have been an assistant to

8    maybe specifically about the focus of your thesis. Can you                 8      many of the classes that are a part of the Child Study and

9    just describe what that work entails.                                      9      Human Development program.

10            THE WITNESS: Of course. So the work that I do is                10                THE WITNESS: That's --

11   about children's and adolescents' positive media use, and,               11                THE COURT: And also you're focusing, at least in

12   like, over the years I have been -- like, I have been                    12       part, on media presentations, in particular in youth

13   participating in various activities related to this. The first           13       development; is that right?

14   one included, like, being a teaching assistant for almost all            14                THE WITNESS: I am right now in my dissertation study

15   the courses offered related to children's and adolescents'               15       particularly studying how young people use media in a positive

16   media use.                                                               16       way, in a prosocial way, benefiting others. When I say

17        (Interruption by the reporter.)                                     17       "benefiting others," I talk about, like, how young people use

18            THE COURT: Okay. Hold on just one second. I think               18       media to, like, give support to their friends who are

19   we're having trouble understanding you. I think it's probably            19       experiencing some emotional difficulties, who are -- who need

20   the -- because of the long distance, somewhere between                   20       some help with their assignments, or I am talking about, like,

21   Louisiana and Vermont. So if you can just slow down a little             21       students or, like, you know, young people in creating some

22   bit. Maybe try to cut it in half so that you're going twice as           22       creativity projects, helping each other, or supporting some

23   slowly, and I think then we'll be able to understand.                    23       community projects such as, like, helping homeless people --

24            THE WITNESS: Of course. Thank you, Your Honor.                  24                THE COURT: So --

25        So the first activity that I was involved was being a               25                THE WITNESS: Um-hum.
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1               THE COURT: So this study on how young people use              1      College - Columbia University, and I lived there in Upper

2    media and the full range of how they use media to contribute to          2      Manhattan between 2018 and 2020.

3    their education, is that part of your thesis for your                    3               THE COURT: All right.

4    doctorate?                                                               4      Q    BY MR. BAVA: And, Ms. Ozturk, can you describe your

5               THE WITNESS: Yes.                                             5      community engagement work at Tufts University.

6               THE COURT: Is that right?                                     6      A    Of course. I would love to describe. I will give some

7               THE WITNESS: This is my -- this is my -- part of my           7      examples of my involvement in the Tufts community. For

8    dissertation study to explore how young people use media in a            8      example, very recently, one of the last activities that I by

9    prosocial way.                                                           9      myself was part of organizing was a collective grieving event

10              THE COURT: Okay.                                            10       for children suffering all around the world experiencing

11              THE WITNESS: It is also -- this work is also broadly        11       [unclear] conflict.

12   related to the work that I did already last five years as my           12            (Interruption by the reporter.)

13   Ph.D. program and two years in my master's program.                    13                THE COURT: So if you can hold on just one second.

14              THE COURT: Okay. That was part of your master's as          14       I'd again try to remind you to be quite slow in your

15   well as -- as your doctorate.                                          15       presentation and try to be quite distinct in your language.

16              THE WITNESS: Yes.                                           16                THE WITNESS: Okay.

17              THE COURT: And your master's program, I thought --          17                THE COURT: Okay?

18   and correct me if I'm wrong, but I thought you are a Fulbright         18                THE WITNESS: Okay. Thank you.

19   Scholar.                                                               19                THE COURT: Because, you know, we have a court

20              THE WITNESS: That's true, Your Honor.                       20       reporter here who's taking down every word that you say, which

21              THE COURT: And you were attending Columbia --               21       is a difficult process, so first she has to be able to

22              THE WITNESS: That's correct.                                22       understand what you're saying and then write it down at the

23              THE COURT: -- I think for your master's. Had you            23       same time you're speaking. It's almost a magical effort.

24   been living in New York at that point?                                 24                THE WITNESS: Of course.

25              THE WITNESS: Yes. I did my master's at Teachers             25                THE COURT: But it's made easier if you are more
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1    slow -- you speak more slowly. Okay?                                       1                THE COURT: Can I ask you, how do you do that? How do

2             THE WITNESS: Okay. Thank you very much, Your Honor.               2      you get children from Russia, Israel, Ukraine, and all over the

3    I will do my best to be slower.                                            3      world to participate in your services?

4             THE COURT: Okay.                                                  4                THE WITNESS: I -- we didn't -- this was an event for

5             THE WITNESS: So one of the last activities that I                 5      us as people working for child development and well-being.

6    have, alongside with my colleagues, organized was an event                 6      This was a department-specific confidential place where, like,

7    called Collective Grieving for Children Experiencing War and               7      Tufts faculty and students, doctoral students, came together to

8    Conflict all around the world. So in this event, I and my                  8      grieve. I think as people who are working in academia for

9    colleagues organized the event in three sessions. The first                9      child development and well-being, it is sometimes possible that

10   part, first of all, we came all together to grieve for                   10       we forget the emotional touch and/or grief extending to

11   children, all children, from [unclear] to Israel, from Russia            11       children that we don't necessarily work directly.

12   to Ukraine, from Sudan to --                                             12                 THE COURT: Um-hum.

13        (Interruption by the reporter.)                                     13                 THE WITNESS: So that doesn't mean that we don't

14   Q    BY MR. BAVA: Sorry. Just hold on one second.                        14       grieve for our children. All of them are ours, from all part

15   Ms. Ozturk, can you repeat the list of places where the                  15       of the world experiencing very sad events including war and

16   children that you were grieving for. And just a little slower            16       conflict, so --

17   for the court reporter.                                                  17                 THE COURT: And is this the program of the entire

18   A    Of course. In this event, we want everyone to come with             18       department --

19   children that are in the youth care circle, hopefully all                19                 THE WITNESS: No.

20   children all around the world. That included all community               20                 THE COURT: -- or is it your -- is this your focus?

21   members coming with concerns and compassion and grief for                21                 THE WITNESS: It is just one of the activities I

22   children from Gaza to Israel, from Russia to Ukraine, from               22       organize in my department alongside with my colleagues. This

23   Congo to Haiti, from Sudan to Yemen, from Cameroon to                    23       is one of the first examples I wanted to give. This event was

24   Afghanistan, from all parts of the world that the youth care             24       a day-long -- like, three, four hours of event where we came

25   circle can extend.                                                       25       together to share some poetry from -- from artists -- from
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1    poets from Turkey to --                                                     1      extends. So it was a project of poetry and art and silence

2         (Interruption by the reporter.)                                        2      that we shared as adults. We shared concern for our children.

3    Q    BY MR. BAVA: Sorry. We're just going to ask you to pause               3           So I just want to give one last example that I did. If

4    again.                                                                      4      you would like me, I want to start to give more examples about

5    A    Okay.                                                                  5      some projects that I was involved at my department at Tufts. I

6             THE COURT: Can I just ask another question? So you                 6      am prepared to provide more explanations.

7    are speaking with children from different parts of the world,               7                THE COURT: Okay. Do you want to go to your next

8    and oftentimes those children will be speaking with other                   8      topic?

9    children who may be a part of communities that are in conflict,             9                MR. BAVA: Sure.

10   but is it your effort to try to bring them together so that the           10       Q    BY MR. BAVA: So, Ms. Ozturk, I'd like to ask you some

11   tension among children is reduced?                                        11       questions about your medical conditions, if that's all right.

12            THE WITNESS: This -- the purpose of the project was              12       A    Of course. Yes.

13   for -- not for children but for people who are working for                13       Q    When were you diagnosed with asthma?

14   child development. That includes professors, students, and                14       A    Can you repeat one more time, please?

15   staff in my department who are grieving for children. So the              15       Q    When were you diagnosed with asthma?

16   event was not for children. It was for us, for people who care            16       A    I was diagnosed with asthma in 2023.

17   about innocent children all around the world.                             17       Q    And where did this diagnosis take place?

18            THE COURT: So you're working with people, adults, who            18       A    It took place in Turkey when I was visiting my hometown.

19   are in your field of study to essentially work with children to           19       Q    What were the symptoms you were experiencing before you

20   reduce tension; is that right?                                            20       sought medical care at that time?

21            THE WITNESS: Thank you so much for asking. I was                 21       A    At the time I had constant coughing, chest tightness, and

22   just trying to give some of the projects that I do. In this               22       breathing difficulties that lasted multiple days, and after

23   project, the purpose was for us to just create some safe space            23       that I went to the doctor to learn what was happening.

24   to grieve, to grieve for children that we don't necessarily               24       Q    And, Ms. Ozturk, have you ever experienced an asthma

25   work together, that we don't have touch, but our compassion               25       attack?
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1    A    I experienced asthma attacks before my detention for                 1      asthma.

2    around nine times, yes.                                                   2      Q    Okay. And can you describe the different things you did

3    Q    And can you describe the symptoms you feel during an                 3      while you were living in Massachusetts prior to your arrest and

4    asthma attack.                                                            4      detention to help manage your asthma.

5    A    Of course. So during an asthma attack, I generally                   5      A    Of course. One of the things that I was doing was going

6    experience chest tightness, having difficulty with breathing,             6      to my lab or library really early on. So I was living very

7    and constant coughs that sometimes goes beyond control. I                 7      close to my department. Sometimes I went there at 6:00 AM,

8    experience stress and anxiety and exhaustion.                             8      6:30 AM, and I always, like, tried to go to library in the

9    Q    And can you tell me about how your doctor in Turkey                  9      earliest time, 7:, like, 45 or 8:00 when they open. I tried to

10   advised you to manage your condition.                                   10       avoid from crowded places. I, like, tried to talk with my

11   A    At the time my doctor provided me different inhalers. One          11       friends so they know what I am experiencing. I am avoiding

12   of them included a maintenance inhaler that prevents asthma             12       non-hypoallergenic pets.

13   attacks, and also he provided me an emergency inhaler that I            13            I am also having a very stress-free life that includes,

14   need to use during an asthma attack. Also, he suggested that I          14       like, my daily life mainly, like, me going to the library or

15   significantly make some changes in my life that includes, like,         15       lab and then working on my dissertation work for -- until,

16   avoiding from strong smells like perfumes, chemicals,                   16       like, afternoon and having my walk and cooking and finishing --

17   detergents and being careful about air ventilation, stress, and         17       and reading books and, you know, going to bed.

18   making sure that I don't, like, enter very crowded places.              18       Q    And what steps did you take in your home to help manage

19   Just managing my daily life to avoid triggers and have a less           19       your asthma?

20   stressful life.                                                         20       A    There were multiple steps that I took. First of all, I

21   Q    Thank you, Ms. Ozturk. And are there -- I think you may            21       was using -- like, if I needed to use detergents or cleaning

22   have mentioned this, but are there any non-environmental                22       supplies, I was experimenting with them and I was only using

23   triggers that also contribute to your asthma?                           23       very natural-ingredient cleaning supplies. I also was living

24   A    Definitely. I think -- although it is not the primary              24       in a very spacious home, and I was being very careful about air

25   cause of triggers, I think stress definitely triggers my                25       ventilation. I was opening my window many times, especially if
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1    I have coughs. Also, I was keeping all the cleaning supplies              1      manage your asthma condition going forward?

2    in a very closed closet.                                                  2      A    For the next two months, they were in touch with me.

3              THE COURT: That's cleaning supplies, did you say?               3      During that time, I met with them in person, also online, and

4              THE WITNESS: Yes. Cleaning supplies in a closed                 4      they did follow-up and adjusted my inhaler.

5    closet, yes.                                                              5      Q    And how effective were all the measures you were taking,

6    Q      And, Ms. Ozturk, I think you may have already mentioned            6      including at home, at the lab, and through your contact with

7    this, but just to confirm, how many asthma attacks did you                7      the Tufts Medical Center, at managing your asthma prior to your

8    suffer prior to your arrest and detention?                                8      detention?

9    A      I -- in my best knowledge, I had around nine asthma                9      A    Except the one incident that I described, my asthma was

10   attacks prior to my arrest over the, like, two and a half --            10       well maintained. It was under control most of the times. I

11   two, three years, after my diagnosis.                                   11       was, of course, using my maintenance inhaler and also emergency

12   Q      And on average, how long did those asthma attacks last           12       inhaler when I had exposure, but I believe it was well

13   for?                                                                    13       maintained.

14   A      On average, those asthma attacks lasted for five to 15           14       Q    And just to confirm, how often do you take your

15   minutes, except one incident where it took multiple days, and           15       maintenance inhaler?

16   it was outside of my control.                                           16       A    The maintenance inhaler is something that I use daily, but

17   Q      Can you describe the circumstances of that severe asthma         17       there has been some months that I was able to quit it or reduce

18   attack that you just mentioned was out of control.                      18       it because of a lack of triggers. For example, in winter there

19   A      Yes. Of course. This happened, in my best knowledge, in          19       is not a lot of exposure to pollens and other triggers, so it

20   2023 after I came from Turkey. I had COVID at that time, and            20       was more, like, easier to control.

21   having both things together really increased my symptoms, and           21       Q    Moving on, Ms. Ozturk, when did you suffer your first

22   for many days I wasn't able to stop my cough, and I couldn't            22       asthma attack after your arrest by ICE agents in March of this

23   eat. I couldn't sleep. And I get in touch with my providers             23       year?

24   at Tufts Medical Center to get adequate help.                           24       A    I had my first asthma attack when they took me to Atlanta

25   Q      And so did the Tufts Medical Center help continue to             25       airport. We were waiting there, and I started to cough and had
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1    my asthma attack, lasting for a while.                                      1      attack after your arrest?

2    Q    How severe was this asthma attack?                                     2      A    I suffered from my second asthma attack and first one here

3    A    I believe it was a severe asthma attack because, although              3      on March 30, as far as I remember.

4    I used my inhaler for two times, I couldn't get over it easily.             4      Q    And so you were at this -- the current ICE processing

5    Q    And what do you think contributed to this asthma attack?               5      center in south Louisiana when that happened?

6    A    I definitely think that stress and anxiety and the                     6      A    That is true. That's true.

7    physical tiredness, hunger because of the, like, whole process              7      Q    How severe was this asthma attack?

8    of being carried across different places really -- like, it                 8      A    Again, this asthma attack was severe. It happened after

9    really increased my stress, and I think it really triggered my              9      being exposed to smoke inside of the room.

10   asthma.                                                                   10       Q    Can you describe the symptoms you experienced during the

11   Q    Were you afraid during that time?                                    11       asthma attack.

12   A    I was afraid and I was crying.                                       12       A    Of course. I was experiencing, again, chest tightness,

13   Q    Did you have all your asthma medication when you were at             13       difficulty breathing, and coughs that I couldn't stop after

14   the airport in Atlanta?                                                   14       using my emergency inhaler for two times, and I was feeling

15   A    Unfortunately, no, because the day that I left my home, I            15       very exhausted.

16   was going to go to iftar, which is -- during the holy month of            16       Q    And what did you do to help manage your condition during

17   Ramadan, it is dinnertime, so I only had my emergency inhaler             17       this asthma attack?

18   that had left only a little bit in it. So when I was in                   18       A    First of all, I used my inhaler. It didn't work, and I

19   Vermont, I ask for my -- the maintenance inhaler.                         19       asked to go to the corridor because there was smoke inside, and

20   Unfortunately, it wasn't provided to me. And when I was in                20       finally I was -- they let me to go to the corridor.

21   Atlanta, I asked for medication -- like, inhaler again.                   21       Q    And were you seen by the medical center at the detention

22   Unfortunately, they told me that there is no place to buy, you            22       center at this time?

23   know, like, medication. Also, I requested for fresh air, but              23       A    So it took quite a long time for me to be -- like, for

24   it was also not possible, like, at that time.                             24       them to let me to take fresh air and go to the medical center.

25   Q    And, Ms. Ozturk, when did you suffer your second asthma              25       And when I went to the medical center, I only had seen a nurse
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1    that was staying there at night.                                             1      criticism of the medical care that she received.

2    Q    And can you describe your experience at the medical center              2            I'm interested to know whether the frequency of asthma

3    with the nurse.                                                              3      attacks has increased or decreased and the severity of the

4    A    Yes. I would like to give some details on that. When I                  4      asthma attacks, whether they've increased or decreased. I

5    went to the medical center, they, like -- I was -- because it                5      don't think it's important to go over each one of them, just is

6    took, I think, more than -- almost, like, one hour or a little               6      there a pattern that she sees as a result of her placement in

7    bit less or a little bit more for them to -- from the first                  7      this facility.

8    onset to go to there, when I went there, again, I was crying                 8                 MR. BAVA: Sure, Your Honor.

9    and I was in a really difficult situation.                                   9      Q     So I'll ask a question, Ms. Ozturk, relating to that. How

10        Because of many coughs, I had fever. They measured my                 10       many asthma attacks have you suffered since your detention?

11   fever, and they told me that I have fever, and then the nurse              11       A     Since the first time they took me, I experienced 12 asthma

12   told me that you need to take that thing from your head, and               12       attacks, increasing. And what I am observing is that they both

13   she forcibly took off my hijab. I told her that she cannot                 13       increase in length - now they are between five to 45 minutes -

14   take my hijab without my consent, but unfortunately, she didn't            14       and they are more intense coming from, like, lower, like,

15   give it back. It took me a while to be able to get it back.                15       chest, and also they are lasting longer and harder to stop.

16        And after that, I believe she, like, did COVID testing,               16       Q     Since you last submitted your declaration, which was

17   cold testing, and she measured my oxygen, but when she measured            17       submitted last week, last Friday, how many asthma attacks have

18   my oxygen, I was already -- it was already after a long time               18       you suffered?

19   from my asthma, and at that day she also gave me ibuprofen, and            19       A     I have suffered four more asthma attacks.

20   I waited there for a while, and we talked about a few other                20       Q     And why do you think you're suffering more frequent and

21   medicine that I requested from them, and they explained that it            21       intense asthma attacks?

22   will take time. That is what I remember from the day.                      22       A     I believe there are different reasons. First of all, the

23             THE COURT: Can I make a suggestion? She actually                 23       room condition, as I described in my declarations, is really

24   submitted a 14-page declaration, which I've read, which goes               24       challenging for an asthma patient because there's constant

25   over many of these same areas of testimony and also her                    25       exposure to dust, triggers. There's, like, not proper air
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1    ventilation. We are not allowed to take fresh air when we need              1      increased because of both the constant triggers surrounding me

2    to take it. And outside time is very limited.                               2      and also stressful environment that I am living right now.

3         Also, there is no divider between the showers, like on the             3               THE COURT: Okay.

4    top, and toilets and sinks. So unfortunately, also the room --              4      Q    And other than your asthma, Ms. Ozturk, how has being in

5    the maximum capacity for the room is indicated as -- is                     5      detention impaired your general health or well-being?

6    indicated as, like, seating capacity for 14 people, but we are              6      A    Unfortunately, I think it is affecting me in a very

7    24 people living in a small area spanning almost 22 -- like,                7      negative way alongside with other women living here not

8    more than 22 hours inside of the same locked cell.                          8      accessing enough medical care and medication. So

9    Q    And how would you describe the difference between how well             9      unfortunately, in this system, requesting any medicine or

10   your asthma was managed before detention compared to now?                 10       medical treatment is really hard, and also, when you access

11   A    I think there's an incredible difference because before,             11       them, unfortunately, the interactions with many medical staff

12   as I mentioned, I was being very careful with my exposure to              12       is very stressful because of their condescending manner,

13   triggers, having a less stressful life, but here,                         13       because of raising voice, because of not believing in patients

14   unfortunately, I am constantly exposed to, like, cleaning                 14       that they have diseases. Yeah.

15   supplies, dust, and there's a mice issue inside of our room.              15       Q    Ms. Ozturk, I want to move ahead to discuss your release

16   Also, the situation, of course, is very stressful with -- being           16       plans if the Court does grant you bail. Where do you plan to

17   defined as overcontrol and constant pressure in the detention             17       live if you are ordered released by the Court?

18   center.                                                                   18       A    Thank you very much for asking the question. I am

19             THE COURT: So you think that the frequency and the              19       grateful that Tufts University offered me multiple options, and

20   seriousness of these attacks has increased because of your                20       I would like to go with one of their options. Right now I have

21   exposure to such things as cleaning supplies, et cetera, and              21       my lease ending at the end of May. I will move my stuff to

22   that you're not careful about what you're exposed to in general           22       Tufts housing as soon as I am released.

23   and -- I mean, is that what you've said?                                  23       Q    Okay. And, sorry, just to confirm, your current lease is

24             THE WITNESS: I am -- yes. I am indicating that both             24       expiring at the end of this month?

25   the length -- both the duration, intensity, and frequency has             25       A    This is true.
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1    Q    How do you know that Tufts University is going to be                  1      A    Of course. Until this point, I have completed many of the

2    providing you housing upon your release?                                   2      competencies and course work and internships in my department.

3    A    My lawyers communicated with them and confirmed that they             3      After I am released, I will be first taking my qualifying

4    are providing me housing.                                                  4      review. After that I will be -- start working on and

5    Q    And how do you plan to support yourself financially after             5      submitting my dissertation proposal. Later I will be

6    you're released?                                                           6      submitting my report application to Institutional Review Board,

7    A    I am a doctoral student who is on full scholarship that               7      which is the ethical community. That's a committee that

8    includes my educational tuition fees and also my living                    8      oversees our research projects in the university.

9    stipends, so for this summer I will be providing my                        9           After this I will be starting my data collection process,

10   financial -- my finance through teaching a course called                 10       which includes interviewing participants, in my case

11   Introduction to Children's Media, which I taught already two             11       interviewing young people at college age; and later I will be

12   years. Also, I will be receiving a grant from Tufts University           12       starting analyzing my data. And in between of this processes,

13   alongside with another additional funding from a project of my           13       there is a data-hearing process where I receive feedback from

14   adviser. Next year I will be getting my stipend through being            14       my advisers in my remaining analysis.

15   her research assistant or teaching assistant in my department.           15            After that I will be finishing my analysis, write-up, and

16   Q    And how important is completing your Ph.D. to you?                  16       I am planning to defend and submit my final dissertation and

17   A    Completing my Ph.D. is very important for me. I have                17       portfolio to Graduate School of Arts and Sciences.

18   worked for this Ph.D. for a long time. I have been in graduate           18       Q    And is it possible for you to do any of that work while

19   school already last seven years. The work that I do is very              19       you're being detained?

20   meaningful for me because I believe I am doing my best to                20       A    It is impossible to do any work here because of many

21   learn, grow, connect, to develop as a developmental scientist,           21       reasons. First of all, I don't have an access to my computer,

22   as a child development scholar, to contribute to well-being and          22       library resources, articles, advisers, and peers, which are

23   development of children all around the world.                            23       really integral to be able to do a high-quality dissertation

24   Q    And can you describe the work you intend to complete as             24       work. Also, here it is impossible to, like, control time

25   part of your Ph.D. if you are released from custody.                     25       because, for example, there are many times that they call us
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1    and we lose so much time, almost like four hours inside of our            1      under pressure to -- to address those competencies.

2    bed, and there's constant noise and there is no place where I             2           Okay. Is there anything else that --

3    can focus and work on my dissertation study and access the                3               MR. BAVA: Just a couple more questions, Your Honor.

4    resources.                                                                4               THE COURT: Okay.

5             THE COURT: So my understanding is that in May you                5      Q    BY MR. BAVA: If you are released, Ms. Ozturk, what type

6    have obligations -- some preliminary obligations that must be             6      of arrangements have you made or will you make to ensure you

7    completed in May and you were concerned that unless you were              7      are able to attend hearings at this court in Vermont?

8    released very quickly you would not be able to complete those             8      A    Of course. Thank you very much for your question. I am

9    preliminary obligations. Is that right?                                   9      going there with my lawyer. They have been providing me

10            THE WITNESS: This is true, Your Honor. I had my                10       transportation support, and I know that also my colleagues are

11   qualifying review scheduled, which I worked for five years.             11       willing to provide me with transportation support.

12   That includes my competencies in research, statistics, cultural         12            Also, for the court hearings in immigration court, I will

13   sensitivity, and grant writing, among other competencies, and I         13       be joining them on Zoom. I know that, like, being present in

14   need to -- I am really in need of, like, taking my qualifying           14       the courtroom is very important, and I will -- I will follow

15   review to be able to start my dissertation process.                     15       all the rules and I will be present in all the courts.

16       Everything takes time in a dissertation journey, and, yes,          16                MR. BAVA: Thank you, Ms. Ozturk.

17   I am very concerned that I am missing the availability of my            17                THE COURT: Okay.

18   professors and I am missing my deadlines alongside with other           18                THE WITNESS: Thank you.

19   work that is related to my doctoral program. For example,               19                THE COURT: Mr. Drescher, do you have any questions?

20   during this time I missed two conferences that I was going to           20                MR. DRESCHER: I do not.

21   attend and I missed one very important conference for me that I         21                THE COURT: Thank you, Ms. Ozturk.

22   was going to present one of my qualifying papers related to             22            I think the petitioner should call the next witness.

23   character role models.                                                  23                MS. ROSSMAN: Thank you, Your Honor.

24            THE COURT: So I would imagine Tufts would be                   24                THE COURT: And thank you for being slow in your

25   flexible, but, yes, I understand that you feel that you're              25       presentation. So I know that you will, if released, be
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1    teaching again very soon. Try that slow technique.                          1      vitae, because we'd be here for a long time, I think, it being

2             THE WITNESS: Thank you, Your Honor. I will do my                   2      lengthy. So -- but recognize that I've already read all of her

3    best to try to be slow.                                                     3      report. Okay?

4             THE COURT: You will do your best? All right.                       4               MS. ROSSMAN: Two questions, Your Honor. First, may I

5             THE WITNESS: Yes, I will do my best. Thank you, Your               5      approach so I can get her some water?

6    Honor.                                                                      6               THE COURT: Oh, yes.

7         (The witness was excused.)                                             7               MS. ROSSMAN: Thank you.

8             MS. ROSSMAN: Thank you, Your Honor. Petitioners call               8               THE COURT: Absolutely. Right.

9    Dr. Jessica McCannon.                                                       9               THE WITNESS: Thank you.

10            COURTROOM DEPUTY: On the other side of the pillar                10                MS. ROSSMAN: And second, Your Honor, would you

11   here -- come right up through here. We keep it very well                  11       prefer -- we can -- if -- given that you have read the

12   hidden. Right up there against the wall, there's a ramp up to             12       materials -- we had been prepared to present her expertise, but

13   the witness stand.                                                        13       we can jump directly to her substantive testimony.

14            THE COURT: Good morning, Dr. McCannon.                           14                THE COURT: Yeah. I've taken a look at her expertise

15            THE WITNESS: Good morning.                                       15       and gone through her curriculum vitae, and she is clearly

16            COURTROOM DEPUTY: Could I ask you to state your name             16       qualified. I think perhaps focusing in directly on her

17   and spell your name for the record, please.                               17       observations of Ms. Ozturk and the risk that may be created by

18            THE WITNESS: Yes. Jessica McCannon. Jessica is                   18       continued incarceration would be helpful.

19   J-E-S-S-I-C-A. McCannon is M-C-C-A-N-N-O-N.                               19                MS. ROSSMAN: Okay, Your Honor. And if we may, I

20        (The witness was placed under oath.)                                 20       think to lay that groundwork, some general building blocks with

21            THE WITNESS: I do.                                               21       respect to asthma, if we can have the Court's indulgence.

22            THE COURT: Okay. Good morning. I should say that I               22                THE COURT: Yes. That's fine.

23   have read Dr. McCannon's six- or seven-page report. I've also             23                          JESSICA B. McCANNON, M.D.,

24   looked at her curriculum vitae. It's already a part of the                24            having been first duly sworn by the courtroom deputy,

25   evidence. So you don't need to go through the curriculum                  25                    was examined and testified as follows:
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1                           DIRECT EXAMINATION                                  1      described are not properly treated?

2    BY MS. ROSSMAN:                                                            2      A    So if symptoms are worsening and are not properly treated,

3    Q    All right. Good morning, Dr. McCannon.                                3      patients are at higher risk of developing an asthma

4    A    Good morning.                                                         4      exacerbation, which is a subacute or acute experience of

5    Q    We've already heard from the Court you have some expertise            5      symptoms worsening, airflow obstruction worsening, and

6    in asthma, so I'd like to speak with you a bit about that. Is              6      potentially the need for emergent medical evaluation.

7    that all right?                                                            7      Q    And what are the risks, Dr. McCannon, of if you have an

8    A    Of course.                                                            8      exacerbation of your asthma symptoms?

9    Q    For the laypeople in the room, could you please describe,             9      A    If you have an exacerbation of your asthma symptoms, those

10   what is asthma?                                                          10       symptoms will get worse. You are at risk of requiring an

11   A    You bet. Asthma is a chronic inflammatory disorder of the           11       emergency room evaluation, a hospitalization, and if a severe

12   airways --                                                               12       asthma exacerbation goes untreated, there is some risk of death

13            THE COURT: I wonder if you could speak right into the           13       as well.

14   microphone.                                                              14       Q    You've been talking about these exacerbations. What can

15            THE WITNESS: Oh, sure. Yeah.                                    15       trigger an asthma exacerbation?

16            THE COURT: Because I couldn't hear you there.                   16       A    There are many, many triggers of asthma. Among the most

17            THE WITNESS: Is this better?                                    17       common are upper respiratory infections, particularly viral

18            THE COURT: That's better.                                       18       infections; exercise; outdoor and indoor allergens. So for

19   A    Okay. Asthma is a chronic inflammatory disorder of the              19       outdoors, we think about pollen. Indoor, we worry about

20   airways associated with variation in airflow limitation, which           20       exposure to dust, to animals, to mold. We also worry about

21   means changes in how the air flows out of the lungs at                   21       exposure to irritants, so strong-smelling items like cleaning

22   different times, and is associated with a number of very common          22       detergents, bleach, perfumes, cigarette smoke. And stress is

23   symptoms, including cough, chest tightness, shortness of                 23       also known to worsen asthma control.

24   breath, and wheeze.                                                      24                  THE COURT: Can I just ask one question about

25   Q    What happens if those symptoms of asthma that you just              25       outdoors?
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1               THE WITNESS: Sure.                                                1      patient can use to control their asthma?

2               THE COURT: She -- there's another submission from                 2      A   Sure. So we prescribe a range of medications, inhaled

3    Ms. Ozturk that she only has an hour -- up to an hour a day                  3      medications, two major categories. There are inhaled

4    outside. Does that create difficulties?                                      4      corticosteroids, which reduce the inflammation in the airways;

5               THE WITNESS: It can create difficulties, particularly             5      there are also inhaled bronchodilators, which open the airways

6    if that period outdoors is associated with exposure to pollen,               6      to make it easier to breathe. Those are often used in a moment

7    right? On the one hand, being outside with fresh air can be                  7      where they're experiencing distress. We have some devices that

8    helpful, yet at the same time, if that period of time outdoors               8      combine those two agents as well.

9    is associated with other triggers, that can also be                          9          But in addition to thinking about the range of

10   problematic.                                                               10       pharmacologic or medication approaches to asthma, we always

11   Q       In your experience, Dr. McCannon, of treating hundreds of          11       make recommendations for considering mitigation of exposures as

12   asthma patients over the course of your career, have you                   12       well as part of our management plan.

13   learned from them what an asthma attack feels like?                        13       Q   I want to take those two pieces a little bit in turn. So

14   A       Yes.                                                               14       you were talking about inhaling medications. Are those -- do

15   Q       What have you learned about what an asthma attack feels            15       laypeople sometimes refer to those as inhalers?

16   like?                                                                      16       A   Yes.

17   A       My patients have described for me feeling frightened and           17       Q   Okay. And are there different ways in which patients with

18   scared and often describing feeling like they are suffocated               18       asthma can use inhalers?

19   and cannot take a deep breath.                                             19       A   Yes.

20   Q       I know you mentioned earlier that asthma is a chronic              20       Q   What are those ways?

21   condition. Does that mean that asthma can be cured?                        21       A   So there are inhalers that are used on a daily basis no

22   A       No. We do not consider asthma as something being curable,          22       matter how patients are feeling on any given day, right, so to

23   merely controlled with attention to symptoms and reducing risk             23       maintain or control the disease. And then there are other

24   factors.                                                                   24       inhalers which are used for quick relief or emergency use to

25   Q       What are the methods that you can -- that, excuse me, a            25       alleviate suddenly worsening symptoms.
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1    Q    And you also mentioned the separate component of                     1      Q    And have you seen examples of that occurring in your

2    controlling symptoms was -- I believe you mentioned avoidance             2      practice as a board certified pulmonologist?

3    and mitigation. What is avoidance and mitigation of triggers?             3      A    Yes. Frequently.

4    A    So it means having a good understanding of what your                 4      Q    You mentioned earlier that the goal of asthma is control

5    personal triggers are and taking measures to avoid those                  5      of a patient's symptoms; is that right?

6    triggers. This can be managed in a number of different ways               6      A    Yes. Control of symptoms and reducing risk of

7    depending on those triggers.                                              7      exacerbation.

8    Q    And how important is avoidance and mitigation as a part of           8      Q    Are there tools and instruments that you as a clinician

9    an asthma patient's control of their symptoms?                            9      can use to measure a patient's asthma control?

10   A    It is incredibly important because oftentimes use of               10       A    Yes. There are many tools and instruments. There are

11   medications, even in the face of triggers, is not sufficient,           11       several that are used quite frequently in clinical practice

12   and ongoing exposure to triggers can undermine the benefits of          12       because they are practical and easy to administer.

13   the medications.                                                        13       Q    And can you name one of those tools for us here today?

14   Q    In your experience, if an asthma exacerbation is caused by         14       A    Sure. The Asthma Control Test is a validated tool which

15   an environmental factor and the patient isn't able to remove            15       consists of five questions, and depending on how your patient

16   themself from the trigger, can inhalers be enough in that               16       answers those questions and how they score, it gives you a

17   situation?                                                              17       sense of how their asthma has been controlled in the preceding

18   A    They may help, but they would not be enough to prevent             18       four weeks.

19   worsening of disease.                                                   19       Q    Are there any other tests that you use regularly in your

20   Q    And what, in your experience, would happen under those             20       practice to measure asthma control?

21   circumstances?                                                          21       A    Yes. There's one other that I like to use. So GINA,

22   A    I think there would be increasing risk of developing a             22       G-I-N-A, which stands for Global Initiative for Asthma, is a

23   more severe asthma exacerbation requiring an emergent                   23       worldwide collaborative which consists of asthma experts from

24   evaluation, potentially requiring an emergency room evaluation          24       around the world who provide strategic guidance on managing and

25   for more specific medications, more intense medications.                25       evaluating asthma. They have a tool, a four-question tool, and
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1    depending how your patients answer four questions, it also               1      you form any opinions about Ms. Ozturk's health and in

2    gives you a sense of whether their asthma has been well                  2      particular her asthma condition?

3    controlled, partly controlled, or poorly controlled in the               3      A   Yes, I did.

4    preceding four weeks.                                                    4      Q   And on what did you base your professional opinions,

5    Q    Aside from the two tests that you've just described, are            5      Dr. McCannon?

6    there other methods that you use in your practice to measure             6      A   So I had access to medical records from her first

7    asthma control for your patients?                                        7      evaluation in Turkey, I had access to her evaluations from

8    A    Yes. With that, it's really just having a sense of                  8      Tufts Health Center, and I was able to have a clinical

9    somebody's clinical history, trajectory, and experience over             9      interview with Ms. Ozturk.

10   preceding months and years. We do not have great tools to              10       Q   Were you able to physically examine Ms. Ozturk?

11   assess asthma control other than that four-week period, but            11       A   Aside from being able to see her on the screen, no.

12   it's just by taking a clinical history.                                12       Q   Why not?

13   Q    We've been talking a bit about folks who have                     13       A   Because she was detained in Louisiana at the time of our

14   well-controlled asthma, sometimes less well-controlled asthma.         14       conversation.

15   Has the field of pulmonary medicine learned anything about the         15       Q   If you had been able to be in the same physical space as

16   risks for people with well-controlled asthma over the course of        16       Ms. Ozturk, were there additional examinations that you would

17   the past decade?                                                       17       have performed?

18   A    Yes. I would say there's been growing attention and               18       A   Yes. I would have performed a complete physical

19   appreciation for the fact that even among patients who are             19       examination but obviously would have auscultated, or listened

20   considered to have mild or well-controlled asthma, they are            20       to, her lungs and would have considered using tools to assess

21   still at risk of developing exacerbations, severe                      21       her lung function as well, either with a peak flow meter or

22   exacerbations, near-fatal exacerbations, and sometimes deadly          22       with spirometry.

23   exacerbations.                                                         23       Q   Are there other times in your practice when you have been

24   Q    I want to turn your attention now to your evaluation of           24       assessing or diagnosing your patients remotely?

25   Ms. Ozturk. In the course of preparing for this hearing, did           25       A   Yes.
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1    Q    When has that been?                                                    1      A   I believe that Ms. Ozturk has a diagnosis of asthma,

2    A    So during the pandemic, we have -- the medical field has               2      specifically cough-variant asthma with an element of allergic

3    gained considerable practice in evaluating patients using                   3      asthma as well.

4    virtual platforms, and we continue to use those virtual                     4      Q   What was the basis for that opinion?

5    platforms often, just having access to our view of our patients             5      A   The basis of that opinion is related to her clinical

6    and a clinical history.                                                     6      history of having allergic rhinitis and seasonal and

7    Q    And how often are you now in your clinical practice                    7      environmental allergies, the assessment at the time of her

8    assessing and diagnosing patients remotely?                                 8      diagnosis, her response to therapies, and some other elements

9    A    Every week I have at least a handful of patients who have              9      of her history as well.

10   opted for a virtual visit, so I continue to use that modality.            10       Q   Based on the clinical history that you conducted with

11   Q    With respect to Ms. Ozturk, did the fact that you could              11       Ms. Ozturk, did you form an opinion about whether her asthma

12   not examine her physically impact the confidence you have in              12       was well controlled during the period of time that she was at

13   the opinions that you're going to express here today?                     13       Tufts?

14   A    No.                                                                  14       A   Yes.

15   Q    And why is that?                                                     15       Q   And what was that opinion?

16   A    Because I have considerable experience, again, with those            16       A   My opinion was that during the time she was at Tufts, for

17   virtual platforms operating and making judgments based on                 17       the majority of the time, with the exception of a period around

18   clinical history, and based on her particular clinical history,           18       the time of a COVID infection, her disease was well controlled.

19   it tells for me a very clear story of her diagnosis.                      19       Q   So I'll take those in turn. Why did you think her asthma

20   Q    So I'd like to get to that story with you. Based on the              20       was not well controlled during the period that you just

21   clinical history that you conducted with Ms. Ozturk and the               21       described of her COVID infection?

22   medical records you reviewed, did you form an opinion about               22       A   So during her infection with COVID, she had periods of

23   whether Ms. Ozturk had asthma?                                            23       cough that were very difficult to control and more chest

24   A    Yes.                                                                 24       tightness and shortness of breath. This is a very common

25   Q    And what was your opinion?                                           25       occurrence among patients with asthma that they suffer
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1    worsening symptoms in the setting of a viral infection.                    1      cause of worsening asthma.

2    Q    In the course of your --                                              2      Q    In the course of your review of the medical records for

3             MS. KHANBABAI: Excuse me. I'm so sorry to interrupt,              3      Ms. Ozturk, were you able to see the type of treatment that she

4    but Rumeysa is actually having an asthma attack right now and              4      received for that exacerbation during the period of her COVID

5    needs to use the bathroom so she can rinse after she has her               5      infection?

6    asthma medication. Your Honor, I'm so sorry, but may she have              6      A    Yes.

7    permission to leave to use the bathroom?                                   7      Q    And how often was she able to receive medical care during

8             THE COURT: Yes.                                                   8      that time, Dr. McCannon?

9             THE WITNESS: Thank you.                                           9      A    So she was assessed by the team at the health center on

10            MS. KHANBABAI: Thank you, Your Honor.                           10       several occasions and had frequent communication with her

11            THE COURT: Okay. Do you wish to proceed while she's             11       medical team throughout this period of time.

12   just taking a break, or --                                               12       Q    I believe you said outside of this one example that it was

13            MS. ROSSMAN: Attorney Khanbabai, were you able to ask           13       your professional opinion that her asthma was well controlled

14   Ms. Ozturk if she wanted us to proceed or to wait?                       14       for the remainder of her time at Tufts. Is that right?

15            MS. KHANBABAI: She was okay with proceeding.                    15       A    That is correct.

16            THE COURT: Okay.                                                16       Q    And what was the basis for that opinion?

17            MS. ROSSMAN: Thank you.                                         17       A    So during the subsequent approximately 18 months, she was

18            THE COURT: All right.                                           18       able to have periods of time where she did not use a

19   Q    I apologize, Dr. McCannon. I think you were in the middle           19       maintenance inhaler and only needed to resume with the onset of

20   of describing what the typical experience is for your patients           20       change of seasons, exposure to pollen; and when she suffered

21   with asthma who sometimes contract upper respiratory                     21       onset of her asthma symptoms, the cough that she describes, she

22   infections. Could you pick up there?                                     22       was able to handle it with her approach to mitigation and use

23   A    You bet. So patients with asthma, when exposed to upper             23       of her quick-relief medication.

24   respiratory infections or viral infections, frequently suffer            24       Q    Based on your clinical history of Ms. Ozturk, did you form

25   worsening of their symptoms and control. This is a common                25       an opinion about whether there were steps that she herself was
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1    taking to help control her asthma symptoms?                                 1      there, you said that -- described her control as worsening

2    A    Yes.                                                                   2      significantly. Would you consider it poorly controlled at this

3    Q    And what was that opinion?                                             3      point in time?

4    A    So she took great pains to be careful about what she used              4      A       Yes.

5    to clean her living space and how she did it; she often opened              5      Q       Would you consider it poorly controlled throughout the

6    windows, wore a mask, took great care at choosing what she used             6      period of time she's been in detention?

7    to make sure that she was not exposed to strong odors; she made             7      A       Yes.

8    changes to her schedule, traveling to the library early in the              8      Q       What's the basis for that opinion, Dr. McCannon?

9    morning to avoid foot traffic and any associated odors from                 9      A       So based on our conversation and the history that she has

10   perfumes, et cetera, from her classmates; avoiding pets. Those            10       recounted about the periods of worsening cough and chest

11   are just a few examples.                                                  11       tightness lasting for longer periods of time and not responding

12   Q    And did you have an opinion about whether this was an                12       as well to her emergency medications, in addition to

13   important element of her asthma control?                                  13       administering those two instruments that I mentioned earlier.

14   A    Yes.                                                                 14       Q       So let's talk about those instruments. When you say that,

15   Q    And what was that opinion?                                           15       are those the validated tests that we discussed?

16   A    It is incredibly important.                                          16       A       Yes. The Asthma Control Test, ACT, and the GINA

17   Q    Based on your clinical history of Ms. Ozturk, did you form           17       assessment control questions.

18   an opinion about her asthma condition since she has been in               18       Q       And do you recall the score that Ms. Ozturk got on the ACT

19   detention, so that would be since she's been detained on                  19       test?

20   March 25th this year?                                                     20       A       Yes. Her score was 14, which is consistent with poorly

21   A    Yes.                                                                 21       controlled asthma.

22   Q    And what is that opinion?                                            22       Q       And do you recall the score that she obtained on the GINA

23   A    In my opinion, her asthma control has worsened                       23       assessment?

24   significantly.                                                            24       A       Yes. She answered three of the four questions in such a

25   Q    What's the basis for your opinion -- well, before I get              25       way that led to the correlation with poorly controlled asthma.
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1    Q   How would you describe the degree of change from                      1      A    Yes. I would not have spoken to her after that point.

2    Ms. Ozturk's asthma condition while she was at Tufts to her               2      Q    And have you been in court here today, Dr. McCannon?

3    asthma condition since she has been detained?                             3      A    Yes.

4    A   It is a very high degree of change. She has experienced               4      Q    And did you hear Ms. Ozturk's testimony?

5    the same number of what she refers to as asthma attacks and               5      A    Yes.

6    more severe in intensity over this period of time of just four            6      Q    And did you hear Ms. Ozturk's testimony that she has

7    to five weeks compared to a period of 18-plus months, almost              7      experienced additional asthma attacks?

8    two years.                                                                8      A    Yes.

9    Q   And I want to talk about that period because I know                   9      Q    And that has been since the last time you spoke with her;

10   that -- do you recall when you took a -- last took a clinical           10       is that right?

11   history of Ms. Ozturk?                                                  11       A    That is correct.

12   A   Yes. The last time we spoke I believe was May 5th --                12       Q    Based on your clinical history of Ms. Ozturk, did you form

13   May -- wait.                                                            13       an opinion about what was causing her asthma to worsen since

14   Q   So if I -- why don't we go by date.                                 14       she had entered detention?

15   A   Yeah.                                                               15       A    Yes.

16   Q   So today is Friday.                                                 16       Q    And what was that opinion?

17   A   Yeah.                                                               17       A    I think it is directly related to her current living

18   Q   Do you recall the last weekday -- day of the week that you          18       situation.

19   spoke to Ms. Ozturk?                                                    19       Q    And in your professional opinion, are there particular

20   A   I think we spoke on a Monday. Oh, shoot. I can't --                 20       elements of the condition that she's experiencing in detention

21   actually, it's all a blur. I can't remember. Forgive me.                21       that's leading to her having poorly controlled asthma?

22   Q   If I were to suggest to you that your declaration was               22       A    Yes.

23   signed on May 2nd --                                                    23       Q    And what are those elements?

24   A   Yes.                                                                24       A    So she's currently living in a space which, as we heard

25   Q   -- would that help refresh your recollection?                       25       her share earlier, I think is designed for 14 people sitting,
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1    and she is essentially living almost 24 hours a day with 23              1      detention?

2    other people in the space, exposed to the humidity from the              2      A   Yes.

3    showers that are open to that space, and exposed to strong               3      Q   And what are those concerns?

4    odors from detergents, shampoos, cleaning supplies. And as I             4      A   I am concerned about the ease with which viruses can be

5    understand as well, there also has been seen rodents and                 5      transmitted in small spaces, particularly those upper

6    insects as well, not to mention the considerable stress that             6      respiratory viruses that are known to cause asthma

7    she's experiencing. All of these things are known to worsen              7      exacerbations.

8    asthma, and we know that they worsen her asthma.                         8      Q   Based on your clinical history of Ms. Ozturk, did you form

9    Q   Do you have any other professional concerns about                    9      an opinion about the risk of her condition worsening if she's

10   Ms. Ozturk's condition while she's in detention?                       10       not released from detention?

11   A   Yes.                                                               11       A   Yes.

12   Q   What are those concerns?                                           12                THE COURT: Ms. Ozturk has just returned.

13   A   From what I have learned from Ms. Ozturk, her ability to           13                MS. ROSSMAN: Thank you.

14   obtain timely medical assessments is a concern for me.                 14       Q   What is your professional opinion about the risk of

15   Patients with asthma who are experiencing worsening asthma             15       Ms. Ozturk's condition worsening if she's not released from

16   control can deteriorate very quickly, and if worsening symptoms        16       detention?

17   are not addressed, the risk increases of developing more severe        17       A   My opinion is that she is at significantly increased risk

18   asthma exacerbation, requiring urgent medical attention.               18       of developing an asthma exacerbation if not released that would

19   Q   You previously mentioned that you think one of the                 19       potentially require emergency evaluation.

20   elements that have led to her worsening condition is the number        20       Q   And when you say "emergency evaluation," what are the

21   of women that she is living with in one space. Do you recall           21       locations at which that might occur?

22   that?                                                                  22       A   So oftentimes patients require evaluation in an emergency

23   A   Yes.                                                               23       room setting. Sometimes they are required to be hospitalized

24   Q   Do the number of women that Ms. Ozturk is living with give         24       on a general medical service or in an ICU. And as I mentioned

25   you any other professional concerns about her condition in             25       earlier, if not treated appropriately and quickly, patients can
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1    suffer morbidity and mortality related to asthma exacerbations.          1      Q   And I guess the flip of that, based on your clinical

2    Q   So the locations that you just mentioned that urgent                 2      history of Ms. Ozturk, did you form an opinion about whether

3    evaluation might need to take place, are those locations that            3      her asthma condition will improve if she remains in detention?

4    you believe Ms. Ozturk is at risk of needing to go to as a               4      A   Yes.

5    result of her worsening condition?                                       5      Q   And what is that opinion?

6    A   Yes.                                                                 6      A   If she remains in detention, I believe that her asthma

7    Q   What is the basis for that opinion, Dr. McCannon?                    7      control will worsen.

8    A   The basis for that opinion is in the increased frequency             8              MS. ROSSMAN: No further questions, Your Honor.

9    and worsening of her symptoms and particularly the increased             9              THE COURT: Thank you.

10   use of her quick-relief inhaler, which we know to be associated        10           All right. Mr. Drescher.

11   with those previously stated risks, not to mention her                 11                              CROSS-EXAMINATION

12   inability to protect herself from her known triggers.                  12       BY MR. DRESCHER:

13   Q   And when you say "protect herself," is that referring to           13       Q   Good morning, Doctor.

14   the mitigation and avoidance techniques we discussed earlier?          14       A   Good morning.

15   A   Exactly.                                                           15       Q   A moment ago I think you described a conversation or a

16   Q   Based on your clinical history of Ms. Ozturk, did you form         16       communication you were having with Ms. Ozturk, and I believe

17   an opinion about whether her condition will improve if she's           17       you said something to the effect of "something that she

18   released and able to return to Somerville?                             18       described as an asthma attack." Is that -- I wanted to explore

19   A   Yes.                                                               19       that.

20   Q   And what is that opinion?                                          20           Is that -- was that choice of language on your part

21   A   My opinion is if she is released and able to return to             21       especially careful that she was describing something as an

22   Somerville, that her asthma control will improve based on her          22       asthma attack that perhaps wasn't an asthma attack? I'd like

23   ability to control her environment and her ability to easily           23       to understand what you were trying to communicate there.

24   access medical care and work with her medical treatment to             24       A   Sure. So Ms. Ozturk, in my short time speaking with her,

25   address any issues that may come up.                                   25       uses the phrase "asthma attack" to describe episodes of
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1    worsening symptoms, so worsening cough, chest tightness,                      1      Q    Are you aware of any medicines that Ms. Ozturk should have

2    et cetera, that requires her to use her quick relief. I will                  2      access to relative to her asthma that she does not have access

3    make a distinction between that and my use of the phrase                      3      to at the medical facility?

4    "asthma exacerbation." Does that help?                                        4      A    Yes.

5    Q    Yes. Is there a clinical definition of asthma attack?                    5      Q    What is that?

6    A    There is not. There is, sadly, very loose and messy                      6      A    She has access to Pulmicort, is my understanding, and a

7    terminology. In my practice, it is just important for me to                   7      quick-relief inhaler, albuterol.

8    understand what my patients mean and what they experience when                8      Q    And are those appropriate medicines?

9    they use certain terminology. When I use the phrase "asthma                   9      A    They are, I believe, not adequate based on her current

10   exacerbation," what that means is sort of subacute or acute                 10       control but better than nothing.

11   worsening in symptoms requiring particular medications and                  11       Q    Have -- to your knowledge, has anybody made an effort to

12   interventions.                                                              12       communicate with the medical team at the facility as to

13   Q    How many times have you spoken with Ms. Ozturk since she's             13       Ms. Ozturk's need for other medicines?

14   been detained?                                                              14       A    I don't know.

15   A    We spoke twice.                                                        15                MR. DRESCHER: I have nothing further.

16   Q    And have you had a chance to review the medical records                16                THE COURT: Okay. Thank you.

17   from the facility where she is currently detained?                          17            Any further questions?

18   A    No.                                                                    18                MS. ROSSMAN: Just one, Your Honor.

19   Q    Do you know how many times she reported what she's                     19                THE COURT: Yes.

20   described as asthma attacks to the medical team at that                     20                              REDIRECT EXAMINATION

21   facility?                                                                   21       BY MS. ROSSMAN:

22   A    I -- no.                                                               22       Q    Hi, Dr. McCannon.

23   Q    Have you had any communication with the medical team at                23       A    Hello.

24   that facility?                                                              24       Q    You were just asked by opposing counsel a couple of

25   A    No.                                                                    25       questions about terminology.
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1    A    Yes.                                                                 1                           SARA K. JOHNSON, Ph.D.,

2    Q    Regardless of the words that Ms. Ozturk has used, what has           2           having been first duly sworn by the courtroom deputy,

3    the symptoms that she has described to you told you about her             3                    was examined and testified as follows:

4    current condition?                                                        4                THE WITNESS: I do.

5    A    Her symptoms clearly tell me a story of a patient with               5                MS. ZAFAR: Thank you. Your Honor, may I approach the

6    asthma whose asthma control has worsened significantly.                   6      witness just to give her some water?

7             MS. ROSSMAN: Thank you.                                          7                THE COURT: Yes.

8             THE COURT: Okay. Mr. Drescher, any further                       8                THE WITNESS: Thank you.

9    questions?                                                                9                             DIRECT EXAMINATION

10            MR. DRESCHER: Nothing further.                                 10       BY MS. ZAFAR:

11            THE COURT: All right. Thank you very much, Doctor.             11       Q    Good morning, Dr. Johnson.

12            THE WITNESS: Yup. My pleasure.                                 12       A    Good morning.

13        (The witness was excused.)                                         13       Q    Where are you employed and what is your title?

14            THE COURT: Okay. Want to call the next witness?                14       A    I am associate professor and director of graduate studies

15        Good morning.                                                      15       in the Department of Child Study and Human Development at Tufts

16            MS. ZAFAR: Good morning, Your Honor. Petitioner                16       University.

17   calls Dr. Sara K. Johnson.                                              17       Q    And what is your connection to Rumeysa Ozturk?

18            THE COURT: Good morning, Professor Johnson.                    18       A    I am her primary adviser, which means I'm responsible for

19            THE WITNESS: Good morning.                                     19       supervising her completion of all the requirements of her

20            COURTROOM DEPUTY: Could I ask you to state your first          20       doctoral program.

21   and last name and spell it for the record, please.                      21       Q    And how long have you known Ms. Ozturk?

22            THE WITNESS: Sure. Sara, S-A-R-A, Johnson,                     22       A    I have known her since September 2020, so almost five

23   J-O-H-N-S-O-N.                                                          23       years.

24   / / /                                                                   24       Q    And what does your role as Ms. Ozturk's primary adviser

25   / / /                                                                   25       entail?
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1    A    So I am responsible for making sure that she fulfills the              1      we also have group meetings in the off weeks, and we have very

2    program requirements. And for our doctoral program, students                2      extensive informal communication. Their office is right down

3    have to fulfill a number of what we call academic milestones,               3      the hall from mine, so I see Rumeysa constantly walking back

4    so, for example, several papers that have to be written, the                4      and forth. Also over e-mail, over -- over text, and we also

5    largest and most final of which is the dissertation. We also                5      have social gatherings as -- at the lab.

6    have, which Rumeysa referred to, several competencies, so those             6      Q    Thank you. So I'd like to turn to Ms. Ozturk's

7    are, for example, presentation scales, teaching scales, things              7      scholarship, which I know she briefly talked about today. But

8    of that nature. And so I make sure that she is working towards              8      can you describe her research and the focus of her

9    those, that she is completing them, and also to a level of high             9      dissertation.

10   quality and in a timely manner.                                           10       A    Absolutely. Broadly speaking, her research is on positive

11             THE COURT: Can I ask a question? She testified about            11       develop- -- media development and positive media use of

12   some competencies which were, I guess, due in May.                        12       children and adolescents, and for her dissertation, they have

13             THE WITNESS: Yes, Your Honor.                                   13       to focus a little more specifically, and so she's looking at

14             THE COURT: And is there flexibility in regard to                14       how late adolescents use social media in what are called

15   whether she can be offered to satisfy those competencies in the           15       prosocial ways, which "prosocial" means to the benefit of other

16   future?                                                                   16       people rather than oneself.

17             THE WITNESS: Yes. Absolutely. We are prepared to                17       Q    And how would you situate Ms. Ozturk's research within the

18   offer her flexibility.                                                    18       broader field?

19   Q    How many students do you supervise, including Ms. Ozturk?            19       A    So Rumeysa's research is innovative for many reasons, but

20   A    I personally supervise four doctoral students right now.             20       two that I think are particularly important is I'm sure folks

21   Q    And how often and in what context do you meet with these             21       have read a lot of news about social media and there's a lot of

22   students?                                                                 22       concern, and so it's really important that research addresses

23   A    So I use the same schedule with Rumeysa as all my                    23       what is happening with social media with young people, and

24   students, which is that every other week we meet for an hour,             24       Rumeysa brings a strengths-based perspective to that which does

25   sometimes more often if it's a busy or intense time, and then             25       not ignore the potential negative consequences of social media
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1    but brings that essential voice of positivity to the                        1      for yesterday, and that is where she would meet with members of

2    conversation.                                                               2      her committee to review everything that she's done, her entire

3         And she's also connecting social media not just to how we              3      body of academic work in our program, and then we would decide

4    communicate but how we develop prosocially. So prosocial                    4      whether she was ready to move forward with her dissertation,

5    development is a really important what we call developmental                5      and it's a really big deal for Ph.D. students in our -- in our

6    task, and so understanding how social media plays into that is              6      program to do that, and so that's where she's at right now.

7    extremely important for developmental science.                              7      Q    And at this stage -- I know you mentioned she had a

8    Q    And I'd like to now turn to discussing the importance of               8      qualifying review. What are the other types of activities that

9    Ms. Ozturk being on campus at this stage in her studies. So                 9      she would be doing in order to prepare to eventually defend her

10   when is Ms. Ozturk expected to complete her degree?                       10       dissertation?

11   A    At the time of her detention, Rumeysa was on track to                11       A    Absolutely. So because this is really the final stretch,

12   finish her dissertation in December of this year, which at                12       the home stretch, of her program, she is working on her

13   Tufts means she would receive her degree in February 2026.                13       dissertation, which is a major undertaking that has many

14   Q    And what happens if Ms. Ozturk cannot complete her                   14       different components that -- you know, academia has to be

15   dissertation and her degree on this timeline?                             15       completed in a very particular order with very particular

16   A    She will absolutely still be able to complete it, but with           16       amounts of time in between, and she really needs to be there

17   every day goes -- you know, that goes by, she's missing out on            17       with -- with us to communicate about that.

18   opportunities for her future career, such as grant proposals,             18       Q    And are there courses that Ms. Ozturk would be teaching

19   opportunities for publication that she needs to have her degree           19       that are also -- would be in furtherance of her requirements?

20   in hand, we would say, to be able to apply for.                           20       A    Yes. Definitely so. Rumeysa is scheduled to teach this

21   Q    And what stage of the Ph.D. program is she currently in?             21       summer a course that she mentioned called Introduction to Youth

22   A    Rumeysa is, as she mentioned, at the point -- it's a very            22       and Media. It's through the Tufts Pre-College Program, so

23   critical juncture between finishing everything else and being             23       it's, of course, for high school students, and this would be

24   able to start on her dissertation. So she mentioned her                   24       the third year that she has taught that course. It's a much

25   qualifying review, which actually had been originally scheduled           25       beloved course. Scheduled to be taught in July.
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1    Q    And during her testimony today, Ms. Ozturk mentioned that             1      hours of effort, and there's no one else to teach it, so they

2    she has served as a research assistant.                                    2      would have to cancel it.

3    A    Um-hum.                                                               3      Q    And similarly with the podcast project you mentioned, you

4    Q    Is that something that she would also be doing as part of             4      said that she is the sort of resident media expert. What

5    this stage of her studies?                                                 5      happens to that project if Ms. Ozturk is not able to

6    A    Yes. Absolutely. She is scheduled to be a research                    6      participate?

7    assistant on a project we are starting about a podcast that is             7      A    Her expertise is really difficult to replicate. It will

8    designed for adolescents that we're doing the data collection              8      greatly extend the timeline of the project because the rest of

9    around how adolescents experience the podcast. Because it's a              9      us will have to learn the expertise that she already has and

10   podcast, it's about media, so she is -- she's our media expert           10       can already bring to the project, and we won't be able to do it

11   on that project. Her expertise is absolutely critical.                   11       as well.

12   Q    And for these various projects that you've described, how           12       Q    I'd like to shift to opportunities that Ms. Ozturk has

13   important is it for Ms. Ozturk to physically be on campus in             13       already missed given her detention. So one major milestone

14   order to participate in them?                                            14       that you mentioned was her qualifying review that was expected

15   A    It's basically the only way that she can participate. As            15       to take place, I believe --

16   she described, it's not really possible for her to participate           16       A    Yesterday.

17   in detention. She, in theory, can work on a few small parts of           17       Q    -- yesterday. So given that she missed it, is there a way

18   her dissertation. I've sent her a proposal. But it's really,             18       for her to complete that review upon release from detention,

19   really challenging, and things that if we were down the hall             19       and how long would that process take?

20   could take one day would take several weeks to complete, if it           20       A    So it is absolutely possible to reschedule. Typically if

21   was possible at all.                                                     21       we weren't trying to expedite it, which of course we will under

22   Q    And for the course that she's expected to teach, if she's           22       these circumstances, it may take a month or more to reschedule.

23   unable to teach it, what happens with that course?                       23       I don't anticipate it would -- would take that long in this

24   A    She's really not replaceable as an instructor. It is the            24       case, but the intensity of what she needs to be doing is such

25   course she has designed herself from scratch with many, many             25       that every day that goes by where that meeting doesn't happen
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1    and she can't start on her dissertation puts her at risk of not             1      review group of all of their work, and they are missing out on

2    meeting that December deadline.                                             2      her very constructive yet extremely rigorous comments, and

3    Q    And are there other projects or other milestones that                  3      Rumeysa is also a mentor to many more junior students in our

4    Ms. Ozturk has already missed out on?                                       4      department, and so they are missing those -- those

5    A    An absolutely major one that she missed was being able to              5      opportunities to learn from her. We have so many students who

6    attend and present her work at a major professional conference              6      are interested in media, media in child development, and

7    in our field called the Society for Research in Child                       7      Rumeysa is really the one who can -- who can teach them about

8    Development. She was scheduled to present there last week,                  8      those topics.

9    and, you know, she's in her fifth year, and that's very prime               9      Q    In your letter of support that was submitted alongside

10   networking time at these conferences. She would have been                 10       Ms. Ozturk's bail application, you described her as

11   talking to people about postdoctoral fellowships and jobs, and            11       "prosocial."

12   she missed out on that.                                                   12       A    Um-hum.

13        And she has also missed the dissertation thesis defenses             13       Q    Are there specific instances you recall where Ms. Ozturk

14   of several close peers, particularly one where she really                 14       demonstrated this prosocial characteristic?

15   played a second mentorship role to the student in their                   15       A    Well, I'll speak to a few that have involved me

16   analysis, and that was really devastating to not have her there           16       personally. And I know we've talked a lot about Rumeysa's

17   for that.                                                                 17       allergy-induced asthma, but from a distance, she really loves

18   Q    And finally, I'd like to talk about your impression of               18       cats, and she loves my cats in particular, and so she's always

19   Ms. Ozturk given your close relationship with her as her                  19       asking me to show her pictures of the cats, and recently one of

20   primary adviser and her integration into the -- to the Tufts              20       them underwent treatment for cancer, and I didn't know it at

21   community. What will Ms. Ozturk's presence on campus                      21       the time, but in our meeting Rumeysa wrote down the dates of

22   contribute to the work not only of her colleagues but to the              22       the treatment that my cat was having for cancer, and then on

23   broader campus community?                                                 23       that day she sent me a text that said, "I hope everything goes

24   A    Absolutely. So Rumeysa is a critical part of our lab. My             24       well with" - his name is Barsic - "Barsic's cancer treatment

25   students, my four Ph.D. students, including Rumeysa, run a peer           25       today. My thoughts are with you" and my husband and our -- and
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1    our cats. So that's just a very small story that illustrates                1      know everybody across all levels in the department community.

2    the level of care she shows for -- for other people.                        2      Q    And how have your students, Ms. Ozturk's peers,

3         She has also befriended my mother when she moved from                  3      experienced her absence from campus over these last six weeks?

4    Kentucky to Somerville. My mom's bucket list trip is to go to               4      A    It's -- it's been devastating. It -- especially at the --

5    Turkey, and so Rumeysa, first time she met my mother, sat and               5      it's both the everyday occurrences but also the major things

6    talked with her for hours on her recommendations of places to               6      like that master's thesis defense where she wasn't able to be

7    go and things to visit.                                                     7      there despite having -- having mentored this student with their

8    Q    And what are Ms. Ozturk's interactions like with her                   8      analysis, and that was so hard for that particular student.

9    peers, with other students in her cohort, and with the                      9           But one of the ways I know how much everyone has been

10   department writ large?                                                    10       impacted was I helped coordinate the submission of letters for

11   A    I already mentioned the peer review group that she has               11       her bail application, and I asked a very large number of

12   with the other Ph.D. students. They give comments to each                 12       people. Everyone agreed. And then after that I kept getting

13   other. I often see those when they send them on to me, and                13       e-mails and I kept getting texts and I kept getting people who

14   Rumeysa gives the most rigorous but constructive feedback,                14       would stop by my office and say, "I would also like to write a

15   which is a lot more difficult than it seems like it would be,             15       letter on behalf of Rumeysa, because we miss her and we need

16   and she also has friends throughout our department. Sometimes             16       her back." And every day since she has been detained, I get an

17   we walk from my office to the Ph.D. students' office and                  17       e-mail, I get a call, I get a text: "How is Rumeysa doing?"

18   everyone's always "Hi, Rumeysa" and she says, "Oh, hi. So nice            18       "When is she going to be back with us?" "It's not the same at

19   to see you."                                                              19       all of these events without her." It's a very consistent

20        And we -- we do these departmental events. Rumeysa                   20       message across the department.

21   mentioned some of them. And sometimes I will walk in and I                21       Q    And then finally, to your knowledge, was Ms. Ozturk

22   will see her sitting with various groups, undergraduate                   22       involved in campus activities outside of her research and her

23   students, master's students. Some Ph.D. students really stick,            23       academic pursuits?

24   you know, with their little cohort, and that's good, but that's           24       A    I know of two ways that Rumeysa has been involved. One is

25   absolutely not Rumeysa. She really makes an effort to get to              25       through the departmental student organizations that she
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1    mentioned, and the other is through -- the Tufts Office of the               1              (The witness was excused.)

2    Chaplain has an interfaith friendship program called Be-Friend               2                 THE COURT: All right. So let's talk about the

3    that Rumeysa has participated in that we have talked about                   3      schedule here for today. I mean, I was hoping that we would be

4    because we've had to schedule our advising meetings around when              4      done relatively quickly. We have one more witness to testify.

5    she needs to be there for -- for those events.                               5      How long would that take?

6             MS. ZAFAR: Thank you.                                               6                 MS. ALLARD: Your Honor, if we could have 20 minutes

7             THE COURT: Okay. Mr. Drescher?                                      7      for the next witness, I think that would be sufficient.

8             MR. DRESCHER: No questions.                                         8                 THE COURT: Okay. And then argument.

9             THE COURT: All right. Can I just ask, I mean, it's                  9              The government has no witnesses; is that right?

10   hard to qualify -- quantify, but her level of engagement in the            10                  MR. DRESCHER: Right.

11   program, I mean, is she one of the students who is, like,                  11                  THE COURT: So the arguments -- my question is whether

12   totally engaged in the doctoral process and in the study,                  12       we just take a short break now and just go until, like,

13   almost to the exclusion of all other interests or --                       13       1 o'clock and finish, which would be my preference.

14            THE WITNESS: Yes. I would -- I would characterize                 14                  MS. ROSSMAN: We can do that, Your Honor.

15   Rumeysa's level of engagement in our program as exceptionally              15                  THE COURT: Pardon me? That's your preference as

16   high. I point to her with other Ph.D. students as a sort of                16       well?

17   role model in that respect of really taking advantage of all               17                  MS. ROSSMAN: We're happy to do whatever the

18   that our program has to offer and being so thorough in                     18       preference is of the Court, but we can certainly make that

19   fulfilling all of the requirements and participating in all                19       work.

20   kinds of activities. Yes.                                                  20                  THE COURT: Okay. Mr. Drescher, any objection to

21            THE COURT: All right. Any further questions?                      21       taking a ten-minute break at this point and going till

22            MS. ZAFAR: No, Your Honor.                                        22       1 o'clock and finish it?

23            THE COURT: All right. Any --                                      23                  MR. DRESCHER: No objection. That's fine.

24            MR. DRESCHER: No. Thank you.                                      24                  THE COURT: Okay. So let's take a ten-minute break.

25            THE COURT: All right. Thank you, Doctor.                          25       I'm really concerned about the communications with Ms. Ozturk
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1    and her being available on Zoom, so if we can just take a                  1      Q    What do you do for work?

2    ten-minute break at this point and we'll start again, and                  2      A    I'm the adult restorative services manager at the

3    hopefully we'll finish arguments of counsel and then I'll                  3      Burlington Community Justice Center.

4    render a decision. Okay.                                                   4               THE COURT: I wonder if you could just come -- move up

5         (A recess was taken from 12:11-12:24 PM.)                             5      just a little bit and speak right into the microphone.

6             THE COURT: Petitioner, call next witness.                         6               THE WITNESS: Certainly.

7             MS. ALLARD: Thank you, Your Honor.                                7      Q    And what is the Burlington Community Justice Center?

8         We call Becky Penberthy to the stand.                                 8      A    The Burlington Community Justice Center is an organization

9             THE COURT: Okay. Good afternoon, Ms. Penberthy.                   9      under the City of Burlington with 17 staff members. We serve

10            THE WITNESS: Good afternoon, Your Honor.                        10       youth age 12 and up, and, I mean, I guess the oldest person

11            COURTROOM DEPUTY: I'd ask you to state your first and           11       I've ever worked with was 82 years old. We serve folks who are

12   last name for the record and spell it as well.                           12       looking for support from the community all the way up to people

13            THE WITNESS: Becky, B-E-C-K-Y, and Penberthy is                 13       who are returning from a period of incarceration.

14   P-E-N-B-E-R-T-H-Y.                                                       14       Q    And is the Burlington CJC publicly funded? Do people pay

15                           BECKY PENBERTHY,                                 15       you directly for your services? How does that work?

16        having been first duly sworn by the courtroom deputy,               16       A    So we do have some fees for some of our programs, small

17                was examined and testified as follows:                      17       fees for participation, but primarily we're funded by public

18            THE WITNESS: I do.                                              18       sources. So we get funding from the Vermont Attorney General's

19            MS. ALLARD: Permission to approach, Your Honor.                 19       Office, the Vermont Department of Corrections, the Vermont

20            THE COURT: Yes.                                                 20       Department for Children and Families, as well as some funding

21            THE WITNESS: Thank you.                                         21       for victim services.

22                          DIRECT EXAMINATION                                22       Q    And what educational background and experience led you to

23   BY MS. ALLARD:                                                           23       this role with the Burlington CJC?

24   Q    Good afternoon, Ms. Penberthy.                                      24       A    So my educational focus was primarily sociology with a

25   A    Good afternoon.                                                     25       little bit of philosophy thrown in. I -- I -- once I left
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1    college, I worked for a period of 16 years at a place for                  1      Diversion; Tamarack, which is essentially like a diversion

2    at-risk youth. I left there and was hired by --                            2      program for folks who have a criminal history, a longer

3             THE COURT: I'm sorry. That was at-risk youth?                     3      criminal history. I also supervise a reentry program for folks

4             THE WITNESS: Correct.                                             4      coming back from a period of incarceration as well as a program

5    A    I left there and was hired by a place that's essentially              5      that's been in effect since 2015 called Pretrial Services.

6    like the Burlington Community Justice Center called Lamoille               6               THE COURT: Can I just ask about -- about the

7    Restorative Center in Lamoille County, Vermont. Worked there               7      structure of your organization? Is it private, nonprofit?

8    for 16 years. When I left that position, I left as the                     8               THE WITNESS: No. It's part of the municipal

9    restorative programs director and the Vermont director of                  9      government here in the city.

10   pretrial services.                                                       10                THE COURT: It's part of the municipal government.

11   Q    And did you spend any time working for the courts?                  11                THE WITNESS: Absolutely.

12   A    Oh, I did. I took a position at Addison Superior Court              12                THE COURT: Okay. Not the state.

13   supervising their four dockets as the court operations manager.          13                THE WITNESS: Not the state.

14   I left there on -- in February of 2022 and took a job at the             14                THE COURT: Okay.

15   Burlington Community Justice Center.                                     15       Q    Can you tell us a little bit more about that structure on

16   Q    In total, in all of your years of experience in                     16       a statewide level. How do pretrial services work across the

17   restorative justice, how long have you been in that field?               17       state?

18   A    Just a little more than 21 years at this point.                     18       A    So in every county in Vermont, there's an agency much like

19   Q    Do you have any other roles currently in addition to your           19       mine that has all of those services that I just spoke of.

20   position at the Burlington CJC?                                          20       It's -- some are different, though. Like, mine is municipally

21   A    I also teach a graduate-level class at the Vermont Law and          21       based. Others are private nonprofits. Others are part of

22   Graduate School in applied restorative justice facilitation.             22       other organizations. But we offer the same services. We're

23   Q    And now that you're at the Burlington CJC, you stated that          23       supervised by the Vermont Attorney General's Office. In those

24   you manage adult restorative services. What are those?                   24       programs, we have common protocols, manuals, that sort of thing

25   A    So those are programs with names such as Precharge; Court           25       that we adhere to.
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1    Q    And how did this statewide pretrial services program come              1      first; and would there be any limitations on your supervision

2    to be?                                                                      2      of -- of her if she was released partially under your care?

3    A    There was some legislation suggested prior to 2015, and as             3               THE WITNESS: Can you say your first question again?

4    it worked its way through the legislation, it was passed and                4               THE COURT: Yeah. I mean, I'm just -- this is

5    enacted at -- I'd say just prior to 2015. Once that law was                 5      obviously the federal court, and you are working theoretically

6    enacted, a committee of folks was developed, you know, people               6      as a municipal organization, and I wonder whether, because

7    from Corrections, Attorney General's Office, judges, and we --              7      you're employed by a municipal organization, it creates a

8    I was appointed to that committee as well, and we took about a              8      difficulty for you spending time on a case which is a federal

9    period of six months developing what this program would look                9      case, not one which is brought to you by the municipality.

10   like and working on its statewide rollout.                                10                THE WITNESS: So I have talked with my supervisors and

11   Q    And here at the Burlington CJC, how do folks get referred            11       members of the City about this, not in specifics but in

12   to you for pretrial services?                                             12       generalities.

13   A    By order of the judge.                                               13                THE COURT: Okay.

14            THE COURT: I'm sorry. By what?                                   14                THE WITNESS: I have actually worked in other federal

15            THE WITNESS: Order of a judge. Judge's order.                    15       cases before. I have one other federal case that I'm working

16            THE COURT: Okay.                                                 16       on, and sometimes people who return from federal custody, an

17   Q    Are there any other methods by which folks can get                   17       incarcerative sentence, work with my team. Our services are

18   referred to you for pretrial services?                                    18       countywide, so even though I'm employed by the City of

19   A    They can self-refer. So sometimes people want our support            19       Burlington, we do serve people all across the county and

20   and reminders, and so they can self-refer, but it's primarily a           20       sometimes outside of the county if their cases are transferred

21   court order.                                                              21       to us.

22            THE COURT: So I read your submission, and I                      22                THE COURT: All right. So even if you're being paid

23   interpreted it as you offering your services to provide support           23       by Burlington, you theoretically practice throughout the

24   for Ms. Ozturk. Is there any particular problem, in light of              24       county, and in fact, you have dedicated your services to some

25   the fact that you are in fact employed by a city organization,            25       federal persons as well?
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1             THE WITNESS: Yes.                                                  1      say one more thing about the funding piece. I -- her attorneys

2             THE COURT: And are you paid for the time that you put              2      are not paying me to provide the services because the services

3    in in regard to the federal supervision, or is this just a part             3      that we provide are -- are for all of the parties and for the

4    of your general job?                                                        4      person that is subject to whatever the conditions are, so I

5             THE WITNESS: In one case I'm -- my agency is paid.                 5      would either want sort of an overarching funding source or no

6    In the other cases, not paid. We do have some general funds                 6      funding source so that I can provide this neutral -- neutral

7    that we're able to determine how we want to spend those funds               7      option to the Court.

8    ourselves, so we're using our general funds to do this.                     8                 THE COURT: Okay. And when you're providing those

9             THE COURT: Okay. But when you offered to actually                  9      services and you become aware that someone has violated the

10   provide that kind of supervision, that's to help her become               10       rule; that is, that they've violated some requirement, and your

11   established back in Somerville and also just to make sure that            11       obligation is to inform the authorities that -- that she is in

12   she's complying with whatever conditions --                               12       violation or he's in violation of the rules, do you have

13            THE WITNESS: Absolutely.                                         13       reluctance to do that?

14            THE COURT: -- are imposed; that doesn't necessarily              14                  THE WITNESS: I don't have reluctance to do that. I

15   require you to be paid by the federal government, does it?                15       see my role as following the court order. So it's sort of this

16            THE WITNESS: I don't think it does. It's nice when               16       coupling of accountability and support. So the accountability

17   we get funding from sources that we're working with, but                  17       piece I take very seriously.

18   there's times when we do not.                                             18                  THE COURT: Okay. All right.

19            THE COURT: Right. And this is a situation in which               19       Q    BY MS. ALLARD: About how many people go through your

20   she couldn't be on federal probation because this is not a                20       pretrial services in a year?

21   criminal case?                                                            21       A    Last year we had 362 people.

22            THE WITNESS: Right. It's not a criminal matter.                  22       Q    Okay. And going through pretrial services, what are some

23            THE COURT: It's a complicated case. But you think                23       of the specific services that are included or involved in that

24   that you would be able to provide that kind of support?                   24       process?

25            THE WITNESS: I think I could. And if I could just                25       A    Well, it usually starts with whatever the court order
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1    says. So not -- I don't always have an opportunity to talk to               1           And then I would have -- I have contact information for --

2    someone prior to the court order, so we would start with a                  2      for Dr. Johnson, who just testified, and also for one of her

3    court order, and I would want to make sure that whoever it was              3      deans, who is Ayanna John- -- no, Ayanna Thomas.

4    understood what those conditions were.                                      4      Q    And you mentioned as well that part of your job is

5         After we sort of get through that point, it's more                     5      conducting an assessment of the various needs that a person

6    about -- it's sort of twofold. Like, reminders about those                  6      might have related to supports so that they could be successful

7    conditions but also reminders about court hearings, making sure             7      pretrial. What are some of those areas that you inquire into?

8    that that person has transportation, and then thinking about                8      A    So I've met with Ms. Ozturk on two occasions, and we

9    all of the support things folks need in their life just to be               9      talked about all of those things that I mentioned. We've

10   successful: that transportation; housing; things -- having                10       talked about her housing; we've talked about her health care.

11   their basic needs met; making sure -- if they're coming out of            11       I'm aware that Tufts University has several options for her to

12   a period of incarceration, reconnecting with their social                 12       choose from for her housing. I was able to read others'

13   supports, their health care supports, and their housing                   13       declarations, so I'm very -- I feel like I have a good

14   supports.                                                                 14       understanding from those declarations and from today about her

15   Q    In your declaration I believe you mentioned supervision              15       health care needs and how others are attending to that.

16   specifically. How do you go about supervising someone in a                16            I am aware that she has a very supportive community around

17   case like this?                                                           17       her of peers and professionals and that those are things that

18   A    So because Ms. Ozturk would be in Massachusetts in theory            18       she holds very dear. She said something to me on -- during one

19   and I would be here in Vermont, I would want to use Zoom                  19       of our meetings, and I hope I get it right. It was something

20   platforms or Teams platforms. So I would want to meet with her            20       like "Friendships are the joy of life." And so as someone who

21   regularly and be able to see her. That could be on a schedule             21       does this work, it's important for me to hear that someone has

22   set by me or a schedule set by the Court.                                 22       social supports, because when we have a community of people

23        I would also want to check in with her maybe another -- if           23       around us, we're more likely to do well with whatever we're

24   it was, say, weekly, I would want to check in with her by phone           24       trying to manage at the time.

25   at random times.                                                          25       Q    And in addition to meeting with Ms. Ozturk and reading the
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1    declarations, hearing testimony here today, did you take any               1      A    Yes. She is already a patient at the medical center, and

2    other steps to gather information about the services/supports              2      she has access to that medical center, and, you know, they have

3    available to her?                                                          3      some concerns about her current health status and are hoping to

4    A    I did meet with members of her team from Tufts University             4      meet with her in person soon to evaluate her status and make

5    so that I could verify some of those details that Ms. Ozturk               5      sure that she can regain her health.

6    had shared with me. And so I've met with folks from the                    6      Q    In addition, you mentioned transportation. Did you gather

7    medical center; we had a long conversation about housing. The              7      any information about her plans for transportation to and from

8    people that I met with did share that she is very deeply                   8      court appearances?

9    connected and rooted in the Tufts community and a very valued              9      A    Yes. Ms. Ozturk talked about having many people that

10   member of that community, as we've heard here today.                     10       would be willing to transport her, friends, but specifically

11   Q    Specifically with assessing her academic support, what did          11       her immigration attorney is willing to transport her to

12   you learn?                                                               12       hearings.

13   A    I learned that Ms. Ozturk is nearing the end of her Ph.D.           13       Q    And finally, you discussed her connections to community

14   studies, that she has already missed some very important                 14       and support. I think we've heard from you on this already, but

15   deadlines, that it is really solely her focus in life at this            15       to the extent there's anything else you'd like to share about

16   point to be successful in school. I also learned that she's a            16       what you've learned about her connections to community.

17   teacher and that she really appreciates that role that she               17       A    Well, I know that her family is in Turkey and she -- they

18   holds.                                                                   18       are part of her community. She shared with me that she

19   Q    And with respect to Tufts' role, did you learn anything             19       typically speaks with her mother on the phone every day and her

20   about their ability to support her academically?                         20       grandparents on the weekends, so that's a connection that's

21   A    I learned that they are wholeheartedly and professionally           21       dear and important to her, and it's also essential for her for

22   ready and willing to support her and are anxious to do so.               22       her health.

23   Q    You mentioned that you met with someone from the medical            23            I learned that she has -- that most of her connections are

24   center. Did you learn anything about her access to medical               24       centered around her academia and she has several peers that --

25   care upon her release?                                                   25       that are important to her, that she's important to. They spend
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1    time in the library. They -- I heard some stories about                     1      Q    And you mentioned that you have contacts for two people at

2    potlucks. And the professionals that I've met with have the                 2      Tufts that you could reach out to; is that right?

3    utmost of respect for her and just are truly looking forward to             3      A    That's correct.

4    her rejoining them.                                                         4               MS. ALLARD: Any further questions, Your Honor?

5             THE COURT: Do you know if her parents and                          5               THE COURT: Okay. No.

6    grandparents are still in Turkey?                                           6               MS. ALLARD: All right. Thank you.

7             THE WITNESS: I believe they are, yes.                              7               THE COURT: All right. Mr. Drescher.

8             THE COURT: They're in Turkey.                                      8                               CROSS-EXAMINATION

9             THE WITNESS: Yes. Yes.                                             9      BY MR. DRESCHER:

10            THE COURT: Okay.                                                 10       Q    Good afternoon.

11   Q    If Ms. Ozturk was ordered released today, would you be               11       A    Good afternoon.

12   prepared to supervise her pursuant to whatever conditions the             12       Q    Does the Burlington Community Justice Center supervise

13   Court may set?                                                            13       anybody outside of Chittenden County?

14   A    I would.                                                             14       A    Yes.

15   Q    And if she was ordered released today, what would your               15       Q    And what's the -- how far away is the most farthest person

16   next steps be?                                                            16       the center supervises?

17   A    I would want to talk with her attorneys about connecting             17       A    Yeah. They can really be anywhere. I had a person in our

18   with her today and just setting up whatever our next meeting              18       court diversion program who was in New Zealand. We do get

19   was, our next connection was. I'd also need her to sign some              19       cases where a judge will order pretrial services for someone

20   releases so that I can communicate with people on her team so             20       who has visited the state of Vermont and something has happened

21   that I can have independent verification.                                 21       and they go back to their home state. So that does happen

22        So when -- typically when I do -- working with pretrial              22       quite a bit.

23   service participants, I'll meet with them, but I also have to             23       Q    And when you are acting at the direction of a court, it's

24   verify that what they're telling me is real and true, so I                24       my understanding that it is a State of Vermont -- State of

25   would need to be able to check on that as well.                           25       Vermont court?
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1    A    Correct.                                                               1                MS. ROSSMAN: Yes, Your Honor.

2    Q    And it's my understanding that those are in criminal                   2                THE COURT: Okay. Mr. Drescher, any witnesses to be

3    cases?                                                                      3      called?

4    A    They are.                                                              4                MR. DRESCHER: No.

5    Q    Do you have any experience supervising somebody who is                 5                THE COURT: All right. So then we can address the

6    subject to removal proceedings in immigration court?                        6      motion. Again, I would just want to remind everyone that I've

7    A    I do not.                                                              7      read all of your submissions. I've read all of the -- well,

8    Q    Would you have any reservation about reporting somebody's              8      the statements from various individuals and thought about this

9    failure to comply with conditions to immigration authorities if             9      a lot, so you can be relatively brief, it seems to me.

10   she were subject to removal proceedings in immigration court?             10            And who is going to argue on behalf of Ms. Ozturk?

11   A    I would not have any problem with that.                              11                 MS. ROSSMAN: I'll be doing that, Your Honor.

12   Q    Would that -- and as -- it's my understanding you are an             12                 THE COURT: Okay.

13   employee of the City of Burlington?                                       13                 MS. ROSSMAN: So I can now say good afternoon, Your

14   A    Correct.                                                             14       Honor.

15   Q    Would that role restrict you in any way with cooperating             15                 THE COURT: Yes. Right.

16   with immigration authorities?                                             16                 MS. ROSSMAN: I hear Your Honor given that we've moved

17   A    No, it would not.                                                    17       from morning to the afternoon, so I will keep this brief.

18            MR. DRESCHER: I have nothing further.                            18            This court is obviously quite familiar with the standard

19            THE COURT: Okay. Any further questions?                          19       that we are using here under Mapp, that we need to establish

20            MS. ALLARD: No further questions, Your Honor.                    20       substantial claims and extraordinary circumstances that render

21            THE COURT: All right. Thank you.                                 21       the grant of bail necessary to make the habeas remedy

22            THE WITNESS: Thank you.                                          22       effective, and in addition here, as I had mentioned at the

23        (The witness was excused.)                                           23       beginning of this morning, Your Honor, we're seeking an

24            THE COURT: All right. Is that it for witnesses from              24       immediate grant of bail with no stay.

25   the petitioner?                                                           25            Given that Your Honor discussed the substantial claims at
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1    great length in the --                                                      1      petition is release from unjustified and unlawful detention,

2             THE COURT: And so did the Circuit.                                 2      and we are now more than six and a half weeks into Ms. Ozturk's

3             MS. ROSSMAN: Exactly, Your Honor.                                  3      detention for an op-ed that she wrote, and over the course of

4             THE COURT: And so did the Circuit. So I don't think                4      those six and a half weeks, as Your Honor just mentioned, both

5    you need to spend a lot of time on substantial claims.                      5      this court and the Second Circuit have made very clear that the

6         Extraordinary circumstances, what's your position on that?             6      jurisdictional bars do not apply to restrict this court's

7             MS. ROSSMAN: Absolutely, Your Honor. So as Your                    7      authority to order bail and to rule on her habeas petition.

8    Honor read in the submissions and heard today, there are                    8      And over the course of those six and a half weeks, the

9    extraordinary circumstances here with respect to Ms. Ozturk's               9      government has had multiple opportunities before the District

10   health as well as her academic pursuits that require bail in              10       of Massachusetts, before this court, and the Second Circuit to

11   order to make a habeas effective remedy.                                  11       produce any evidence to either justify the detention or oppose

12        You've heard today both from Ms. Ozturk herself and from             12       petitioner's bail motion. And in the face of explicit requests

13   Dr. McCannon that her asthma is poorly controlled; that it's              13       from both the petitioner and this court, the government has not

14   significantly deteriorated; that she is at risk of serious                14       done so.

15   exacerbation, including the necessity for emergency care. You             15            Without bail as a result, Ms. Ozturk is facing the very

16   also heard from Ms. Ozturk herself on your questioning, Your              16       harm, the very harm, that she's challenging in her habeas

17   Honor, that both the severity, the duration, and the frequency            17       petition, which is the unlawful retaliation and punishment for

18   of her symptoms have all increased in detention, and in fact,             18       her speech that violates her rights and sends a chilling

19   we experienced that here today.                                           19       message to everyone who's watching. And this is without any

20        I want to also talk, Your Honor, about the fact that not             20       evidence except for a newspaper article that she's been held

21   only do these health risks -- are they extraordinary                      21       for this period of time. This is really the exemplar of an

22   circumstances, but these are extraordinary circumstances that             22       affront to the Great Writ, and we need bail now to preserve the

23   require bail in order to ensure that the habeas remedy is                 23       very purpose of habeas.

24   effective.                                                                24            When Mr. Mahdawi was arrested, it was the same day that

25        The relief that Ms. Ozturk is seeking here in her habeas             25       Ms. Ozturk was last before this court, and he is now out, and
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1    that was based on a ruling from a court in this district that                1      we had -- have, excuse me, made a substantial showing of the

2    found that if he's being detained in retaliation for exercising              2      substantial basis for our claims, there has been absolutely no

3    his First Amendment rights, "release is essential to make                    3      showing of a government injury for a stay here, and that is

4    habeas relief effective," and that was necessary and                         4      placed along -- or it's -- excuse me, that is placed against

5    appropriate in Mr. Mahdawi's case. And I will say while we've                5      the other side of the ledger here, and that's Ms. Ozturk. And

6    been in this hearing, Your Honor, the Second Circuit has denied              6      for Ms. Ozturk, every day that she is detained is a significant

7    a stay in Mr. Mahdawi's case.                                                7      injury to her, particularly when First Amendment rights are at

8         Bail is equally necessary and appropriate here. And that                8      issue and particularly when her health is at issue.

9    same undercurrent of why bail is necessary to effectuate the                 9           There's been no allegation that there's a third-party

10   habeas relief indicates why this court should do so immediately            10       injury that would be required, and the public interest here

11   and without any stay.                                                      11       favors release, Your Honor, which is what the courts have said

12        The Federal Rules of Appellate Procedure 23(c)                        12       time and time again when First Amendment rights are at issue,

13   unambiguously state that absent a court order, a person who is             13       as they are here.

14   on bail during habeas must be released, and the Supreme Court              14            And here there's a particular reason, Your Honor, to deny

15   made clear in Hilton that this establishes a presumption of                15       a stay, and that's because we know how stays have been used in

16   release for someone on bail, and the only way that's overcome              16       the past in this very case. The petitioner and every court

17   is through an analysis of whether the government makes a strong            17       that has been involved in this case has moved Ms. Ozturk's

18   showing of a likelihood of success on the merits, irreparable              18       petition expeditiously in recognition that she is being

19   injury, whether the stay would injure a third party, or if a               19       detained on the basis of a newspaper article that she wrote and

20   stay would be in the public interest. And just as in                       20       that every day that she's detained continues that violation.

21   Mr. Mahdawi's case, which the Second Circuit just denied the               21            The government, however, has delayed and used stays in the

22   stay as well, all of those factors favor a denial of a stay                22       past to increase the length of Ms. Ozturk's detention, and

23   here.                                                                      23       although two courts denied a stay, both this court and the

24        If this court agrees that there is bail here that is on               24       Second Circuit, her release -- or, excuse me, her transfer was

25   the basis of a finding that the petitioner has, as we believe              25       already delayed as a result of the government's use of a stay.
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1    If past is prologue, we would anticipate the government may do                  1      opinion was just wonderful. You're acknowledging that it's

2    the same if a stay was issued here, waiting until the last                      2      because --

3    minute and potentially dragging out Ms. Ozturk's time in                        3                  MR. DRESCHER: I recognize that the Second Circuit had

4    detention, and this flies in the face of the writ; it flies in                  4      compliments going both directions, Your Honor.

5    the face of the presumption that the Federal Rules require.                     5                  THE COURT: Oh, you noticed that they complimented our

6    This compounds her constitutional violation to both her and it                  6      decision.

7    magnifies the chill, and that's why we would ask this court to                  7                  MR. DRESCHER: I noticed that as well.

8    order the immediate release for Ms. Ozturk today without a                      8                  THE COURT: Yeah.

9    stay.                                                                           9                  MR. DRESCHER: Fully recognizing Your Honor's previous

10           You've heard from Ms. Penberthy, who said she's ready to              10       decision and the Circuit's recognition of -- the Circuit's

11   begin supervision today, and you can see Attorney Khanbabai,                  11       treatment of Your Honor's position, we continue to assert that

12   who is there right next to Ms. Ozturk. Attorney Khanbabai is                  12       this court is neither the right forum nor is this the right

13   ready, able, and willing to walk out with Ms. Ozturk today to                 13       time for hearing this habeas claim.

14   make sure that she has accommodations tonight and to get her                  14            In the absence of habeas jurisdiction, the Court, in our

15   back safely home, and that's why we ask this court to grant                   15       view, would lack authority to issue release under Mapp, and I

16   bail and to do so without a stay.                                             16       just want to be clear that respondents are in no way abandoning

17              THE COURT: All right. Mr. Drescher.                                17       those arguments. We want to reiterate them, and we want to

18              MR. DRESCHER: Your Honor, our principal objection to               18       preserve them for further litigation, if appropriate. I

19   the release under Mapp continues to be a legal one. We                        19       appreciate there's no intent to revisit any of them, but I want

20   appreciate that Your Honor has rejected those arguments                       20       to make clear that that's our fundamental objection to the idea

21   previously. We appreciate that the Second Circuit has signaled                21       of releasing Ms. Ozturk today on bail, though I'd be happy to

22   very strongly that it agrees with Your Honor's analysis. The                  22       answer any questions that you may have in that regard.

23   government continues --                                                       23            If Your Honor is inclined to release her on bail, I think

24              THE COURT: Is that why I said that the opinion was so              24       we need to have some consideration here in this hearing as to

25   great? I think I started with saying the Second Circuit                       25       what conditions should be imposed. Ms. Ozturk, as Your Honor
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1    knows, will continue to be subject to removal proceedings.                  1      volunteered. That would be between Massachusetts and Vermont.

2    Customarily, if somebody has been released from immigration                 2      As she indicated in her declaration, she'd be comfortable with

3    custody while still subject to removal proceedings, ICE imposes             3      that; the obligation to report her residence to immigration

4    a series of conditions that require reporting to immigration                4      authorities and any change in residence to immigration

5    authorities and it requires complying with state and local and              5      authorities; certainly continued compliance with federal,

6    federal laws, including laws about the need for noncitizens to              6      state, and local laws to include, for example, laws that are

7    stay registered with immigration authorities, and I think it's              7      specific to people who are in this country on -- in

8    important -- it's extremely important that if Your Honor is                 8      nonimmigrant status.

9    going to issue a release order today, that everybody is on the              9           So, for example, it's unlawful for somebody in

10   same page as to what conditions attach to that order.                     10       Ms. Ozturk's position to possess a firearm, or it would be

11        And I think we all need to recognize that she will --                11       unlawful for her to fail to register with immigration

12   because Ms. Ozturk will continue to be subject to removal                 12       authorities. Some of that's already spelled out in her notice

13   proceedings, that there will necessarily have to be some                  13       to appear that she's in receipt of. I understand she has very

14   jurisdiction over her by the immigration authorities. I'm not             14       capable immigration counsel who can help her navigate those

15   suggesting for a moment that the Executive Branch is going to             15       obligations under Title 8, and, you know, I urge the Court, in

16   disobey a release order, but given the fact that there is an              16       formulating any conditions that are going to apply, to dovetail

17   immigration court proceeding going on, given the fact that it's           17       those as much as possible to the conditions that would be

18   customary for people who are in such a proceeding who have been           18       imposed by ICE.

19   released from immigration custody to be subject to conditions,            19            I appreciate the testimony of the previous witness and her

20   I would ask as a threshold that the Court order, as a condition           20       willingness to assist the Court in administering any

21   of release, if you are going to issue a release order today,              21       conditions. It may be as simple as just having the immigration

22   that Ms. Ozturk be subject to any conditions imposed by ICE.              22       authorities perform their standard supervision -- supervisory

23        I understand those conditions might include location                 23       functions, and the Court may want to overlay, you know, some

24   monitoring administered by ICE; they might include limitations            24       additional conditions on that.

25   on travel along the lines that Ms. Ozturk has already                     25            And so with that, we would ask any release order to direct
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1    Ms. Ozturk, as a condition of release, to comply with                     1      earlier ruling. The Second Circuit has addressed that as well.

2    conditions imposed by immigration authorities, the regular and            2      In the Court's opinion on April 18th, it considered the

3    customary conditions of immigration authorities, for somebody             3      evidence submitted by Ms. Ozturk to show that her detention was

4    who would be released from immigration custody but who is still           4      in retaliation for her co-authoring an op-ed. The Court held

5    subject to removal proceedings, and those could include the               5      that in the absence of additional information from the

6    things I spoke about but also, no matter what, the obligation             6      government, the Court's habeas review is likely to conclude

7    to abide by -- not commit offenses and to make all appearances,           7      that Ms. Ozturk has presented a substantial claim.

8    whether it's in this court or in immigration court.                       8           So I essentially suggested to the government that they

9             THE COURT: All right. I appreciate your offer.                   9      produce any additional information which would suggest that she

10        All right. So both parties have raised the question of             10       posed a substantial risk or that she could contest that

11   what law applies. In evaluating release on bail, both sides             11       determination that she did not raise a substantial claim. In

12   refer to Mapp v. Reno, which sets the standards. The Court              12       particular, I put the government on notice that they should

13   agrees that Mapp remains the controlling standard here. The             13       immediately introduce any such evidence, and that was three

14   Second Circuit has said that Mapp is "a difficult standard to           14       weeks ago, and there has been no evidence that has been

15   meet," and sister courts in this Circuit have found that                15       introduced by the government other than the op-ed. I mean,

16   petitioner bears the burden of demonstrating she meets it.              16       that literally is the case.

17        Mapp requires this court to find three separate factors:           17            There is no evidence here as to the motivation absent

18   The first, whether the habeas petition raises substantial               18       consideration of the op-ed, so that creates unto itself a very

19   claims; second, whether extraordinary circumstances exist; and          19       significant substantial claim that the op-ed; that is, the

20   third, whether a grant of bail is necessary to make the habeas          20       expression of one's opinion as ordinarily protected by the

21   remedy effective.                                                       21       First Amendment, formed the basis of this particular detention,

22        The Court finds that Ms. Ozturk has sufficiently                   22       and that sets out the argument that the petitioner has made

23   established all three factors.                                          23       that the reason that she has been detained is simply and purely

24        First, substantial claims. Ms. Ozturk has raised a very            24       the expression that she made or shared in the op-ed, in

25   substantial First Amendment claim. I addressed that in the              25       violation of her First Amendment rights.
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1         The Court need not decide at this stage whether her                   1      are really self-evident. First, she is asthmatic. She is

2    detention actually constitutes a First Amendment violation.                2      suffering as a result of her incarceration. I found

3    The Court can address that at the later hearing. But                       3      Dr. Glendon's [sic] testimony to be very persuasive that,

4    regardless, the Court finds that Ms. Ozturk has raised a                   4      assuming that she remains incarcerated in the situation that

5    substantial claim of a constitutional violation.                           5      exposes her to 23 other individuals in one large cell and

6         And in addition, the Court also finds that she has raised             6      exposes her to all of the smells and the scents of cleaning

7    a substantial claim in regard to the due process issues that               7      supplies, et cetera, while she's incarcerated, which exacerbate

8    she has raised, in particular a number of issues that raise                8      her difficulties, she may very well suffer additional damage to

9    very significant concerns about whether her detention was in               9      her health. That's an extraordinary circumstance. And in

10   violation of her due process rights. She's submitted various             10       fact, in light of the relative quickness in which these kinds

11   statements as evidence by officials of the government that               11       of cases are resolved, this needs to be resolved at this point,

12   support those arguments that in fact the objective was                   12       because it could very well impact her health going forward, and

13   punitive. Of course, this is a civil contempt situation. It's            13       that's an extraordinary circumstance.

14   not a punitive contempt situation. And they have raised -- the           14            There are other extraordinary circumstances in this

15   petitioner has raised very significant questions about whether           15       particular case, and I think I mentioned briefly one in the

16   the intention of the government in detaining her was punitive            16       earlier opinion. Essentially, she was arrested in

17   in nature. That raises a very significant due process claim.             17       Massachusetts. She was then quickly moved to New Hampshire and

18        Secondarily, the process by which she was placed in                 18       then to Vermont. She was in transit at the time of the filing

19   detention raises very significant due process concerns. Again,           19       of the petition. But she was not taken to fly to Louisiana --

20   the Court need not answer those questions. That can be                   20       taken to the airport to fly to Louisiana for at least another

21   addressed when we deal with the habeas hearing. But I do find,           21       six hours. There were efforts that were made by the petitioner

22   frankly, that these are very substantial claims of both due              22       to contact the government and indicate to the government that

23   process and First Amendment violations.                                  23       in fact there was a stay that a judge in Massachusetts at 10:01

24        So then one goes to Mapp again and goes to extraordinary            24       had ordered that she not be moved out of the state.

25   circumstances. The extraordinary circumstances in this case              25            Of course, she was out of the state at that point, but the
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1    question is whether that is compliance with -- in good faith               1      infringement on Ms. Ozturk's First Amendment and due process

2    with the order even though she is not in Massachusetts at the              2      rights. That infringement may be justified if the government

3    time of the order. It's unclear; I have no clue at this point              3      had presented a legitimate case for it, but as discussed, it

4    as to whether the government was aware of the order, whether               4      has not done so. Meanwhile, her continued detention

5    the agents that were in charge of her knew of the order and                5      potentially chills the speech of the millions and millions of

6    just disregarded it, or if they just never knew about it.                  6      individuals in this country who are not citizens. Any one of

7    Perhaps that will come up at the time of the ultimate hearing.             7      them may now avoid exercising their First Amendment rights for

8    But this is an extraordinary situation.                                    8      fear of being whisked away to a detention center from their

9         When you have an Article III judge order that you not be              9      home.

10   taken out of the state of Massachusetts, even if -- even if              10            For all of those reasons, the Court finds that her

11   they didn't know it until she was in Vermont, but never                  11       continued detention cannot stand, that bail is necessary to

12   responding to the Court to indicate that she is in fact at a             12       make the habeas remedy effective.

13   different location and can be brought back -- I don't know if            13            So then the Court turns to the question of conditions and

14   that is in fact the facts. That could be very well developed             14       are there conditions which are necessary to assure that she

15   later on. But it raises substantial questions and                        15       would not pose a danger to the community or that she would not

16   extraordinary circumstances of this particular litigation.               16       pose a risk of flight. As are common in determinations of

17        So the third factor is the grant of bail is "necessary to           17       release from custody, the district court in Mapp considered the

18   make the habeas remedy effective." This factor dovetails with            18       petitioner's dangerousness and risk of flight. The Court's

19   the two that I've just discussed.                                        19       aware that an immigration judge in Louisiana found danger and

20        First, Ms. Ozturk has raised serious concerns about her             20       flight risk for Ms. Ozturk.

21   health while in custody in a sworn affidavit. A doctor has               21            The immigration judges are Executive Branch employees

22   consulted -- and in testimony today. A doctor has consulted              22       subject to Executive Branch orders. This is an Article III

23   with her while in ICE custody, and she has deteriorated                  23       court. It's obligated to conduct an independent and rigorous

24   health-wise.                                                             24       review of the evidence that is a part of the record in this

25        Furthermore, detention necessarily constitutes a continued          25       case. In the April 18 opinion, the Court invited the
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1    government to submit any evidence it presented to the                       1      of flight.

2    immigration judge that would support a finding of                           2           The Court orders the government to release Ms. Ozturk from

3    dangerousness, dangerousness of flight -- the risk of flight,               3      custody immediately pending further proceedings in this court

4    but dangerousness to the community, and there has been                      4      on the merits of her habeas petition. Ms. Ozturk is free to

5    absolutely no evidence introduced by the government which in                5      return to her home in Massachusetts. She's also free to travel

6    any way indicates that she poses a danger of flight or that she             6      to Massachusetts and Vermont as she sees fit. And I am not

7    poses a risk to the community.                                              7      going to put a travel restriction on her because, frankly, I

8         On the other hand, she has submitted numerous sworn                    8      don't find that she poses any risk of flight. And secondarily,

9    affidavits - I think I counted 28 in the first submission, and              9      she's engaged in an academic career at the top of her career

10   then there were a number just recently - attesting to her                 10       which will require her to attend out-of-state programs, give

11   peaceful and compassionate character as well as her ties to the           11       out-of-state lectures, and as a part of her career, I think

12   university and community.                                                 12       she's very likely to be traveling outside of these areas.

13        And I will just express my own observation in that this is           13            So what I'm going to suggest in terms of conditions are,

14   a woman who's just totally committed to her academic career. I            14       first, that she be released on her own recognizance; second,

15   mean, this is -- this is someone who probably doesn't have a              15       that -- that the Burlington Center for Justice be engaged to

16   whole lot of other things going on other than reaching out to             16       participate in her support and supervision. That's both

17   other members of the community in a caring and compassionate              17       support and supervision.

18   way. There is absolutely no evidence that she has engaged in              18            To the extent that she will be supervising Ms. Ozturk, I'm

19   violence or advocated violence. She has no criminal record.               19       going to order that Ms. Ozturk have at least monthly contact

20   She has done nothing other than essentially attend her                    20       with the Burlington Justice Center and that each month, once

21   university and expand her contacts within the community in such           21       per month, the center submits to this court, to me in

22   a supportive way. I do not find that any of the contacts that             22       particular, a report as to how she's doing, what she's doing,

23   she's had in the community create any danger or any risk of               23       what she has done over the past month, and the future plans in

24   flight in my mind. So therefore, the Court finds that she does            24       the future -- and the future plans that she has. The idea, of

25   not pose a danger to the community, nor does she present a risk           25       course, is for her to try to reintegrate into the Somerville
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1    community after what has been a very traumatic event, incident.            1      the merits, and I do not find they are likely to succeed on the

2    So I think the support and also the reporting requirements will            2      merits.

3    assist in that way.                                                        3           Irreparable injury to the moving party. I don't find that

4         Now, I appreciate that ICE may have conditions that are               4      the government is irreparably harmed by her release into the

5    standard in release of cases that involve persons who are in               5      community.

6    removal proceedings. Of course, she's not here, not in this                6           Whether a stay will substantially injure the nonmoving

7    court, involved in the removal proceedings. We have nothing to             7      party.

8    do with removal proceedings. This has to do with the habeas.               8           And where the public interest lies. I think all of those

9    But I do understand that ICE has a legitimate interest in                  9      factors weigh in light of Ms. Ozturk.

10   making sure that she does not pose a risk of flight or danger            10            So it is the order of the Court that the defendant [sic]

11   to the community.                                                        11       is to be released on her own recognizance subject to the

12        So what I propose is - I'm not going to impose those                12       conditions that I've just imposed. The motion to stay, if

13   conditions at this point - that the government submit a                  13       there is a motion, has not been filed, but if there is a

14   proposed set of conditions that ICE would request, and with              14       motion, would be denied.

15   consultation with petitioner's counsel, perhaps you can arrive           15            Then I'd ask the government to monitor the situation in

16   at a joint recommendation. Perhaps Ms. Penberthy could                   16       Louisiana and that I would like to know immediately when she's

17   actually make recommendations of what conditions should be               17       released.

18   imposed. And then within a short period of time, I will amend            18            Are you willing to do that, Mr. Drescher?

19   her release order to reflect those -- those conditions.                  19                 MR. DRESCHER: Yes. I will communicate the substance

20        Next, although the government has not asked for this, the           20       of the Court's order to ICE as soon as I'm back in the office

21   Court is not going to stay this order. I think I've addressed            21       and will ask them to alert me when Ms. Ozturk has been released

22   in other -- the other opinion the standards that you apply.              22       from custody, and I will advise chambers when I get that

23   The four factors the Court must consider are, number one, a              23       confirmation.

24   strong showing that the moving party is likely to succeed in             24                 THE COURT: Great. All right. And again, I

25   the merits. That's the government. -- likely to succeed in               25       appreciate ICE has interest in conditions, and I'd like to hear
                                                                      Sheet 57 of 58
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01:22:18    1 what they feel is necessary.   I don't think electronic

01:22:22    2 monitoring would be required, but certainly, you know,

01:22:30    3 modest -- modest conditions may very well be appropriate.   But

01:22:34    4 again, I just find she doesn't pose a risk.

01:22:41    5      Thank you.

            6      (Court was in recess at 1:22 PM.)

            7

            8

            9                    C E R T I F I C A T I O N

           10     I certify that the foregoing is a correct transcript from

           11 the record of proceedings in the above-entitled matter.

           12

           13

           14 May 12, 2025                        ___________________________
                                                    Johanna Massé, RMR, CRR
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                                                                                Sheet 58 of 58
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                             Exhibit C
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                               Document131
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                        UNITED STATES DISTRICT COURT
                                   FOR THE
                             DISTRICT OF VERMONT

  RUMEYSA OZTURK,               )
                                )
            Petitioner,         )
                                )
       v.                       )             Case No. 2:25-cv-374
                                )
  DONALD J. TRUMP, in his       )
  official capacity as          )
  President of the United       )
  States; PATRICIA HYDE, in her )
  official capacity as the New )
  England Field Director for    )
  U.S. Immigration and Customs )
  Enforcement; MICHAEL KROL, in )
  his official capacity as HSI )
  New England Special Agent in )
  Charge, U.S. Immigration and )
  Customs Enforcement; TODD     )
  LYONS, in his official        )
  capacity as Acting Director, )
  U.S. Immigration and Customs )
  Enforcement; KRISTI NOEM, in )
  her official capacity as      )
  Secretary of the United       )
  States Department of          )
  Homeland Security; and MARCO )
  RUBIO, in his official        )
  capacity as Secretary of      )
  State,                        )
                                )
            Respondents.        )

                                     ORDER

        The Court held a telephonic conference with counsel for

  Petitioner and counsel for Respondent at 4:50pm. The Court

  reaffirmed its ruling made at the bail hearing earlier on

  5/9/25. In light of the Court’s finding of no risk of flight and

  no danger to the community, Petitioner is to be released from
Case 2:25-cv-01963-MEF-MAH
           2:25-cv-00374-wks   Document
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  ICE custody immediately on her own recognizance, without any

  form of Body-Worn GPS or other ICE monitoring at this time.

  Petitioner is not subject to any travel restrictions.

  Respondent’s counsel shall submit proposed conditions of release

  after conferring with ICE no later than 5/12/2025.

        DATED at Burlington, in the District of Vermont, this 9th

  day of May 2025.

                                              /s/ William K. Sessions III
                                              Hon. William K. Sessions III
                                              U.S. District Court Judge




                                        2
